 

NORTH CARoLINA , '
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V.
THE BOARD or eovERNoss or ran

UNlVERSlTY OF NORTH CAROLINA, ’l‘l'lE)
UNIVERSITY OF NORTH CAROLINA A’l‘ )
CHAPEL HILL, CAROL FOLT in her official )
capacity as Chancellor of ’l‘he University of )
North Carolina at Chapel flill, ANN LEMGN )
in her official capacity as Assistant Provost for)
Academic Personnel, and KENNETH 'l‘. )
ANDREWS in his official capacity as Chair of )
the Department of SOciOlOgy )

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Defendants. )
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sTATE AND FEDERAL _DUE P:soosss
iuoLA'rmNs ARISING FRoM TITLE
nc (20 U.s.o. § 1681) H_EARINGS,
Pn'rrrioNs ron JUDICIAL REVIEW,
' BREACH or ooN'rRAoT, '
coNsTRUCTIVE DISCHARGE AND
sTA'rE AND FEDERAL FREE sPEE on
vroLArioNs(42 U.s.c. § 1983),
DEFAMATION, BREACH or
conDENTrALITY, NEGLIGENCE,
ns oLARAToRY JUDGMENT,
INJUNCTIVE RELIEF, & ooRUM
cLAIM

(JURY TRIAL DEMANDED)

Plaintiff (“Professor Doe” 1), by and through counsel, complaining of Defendants,

alleges and says:

SUMMARY OF ACTION

l. Professor Doe seeks justice for the unconstitutional obliteration of his
reputation and career by the Very students and institution to Whom he
devoted an entire h'fe’s Work. Under mounting public and federal pressures
to “get tough” on Title IX, `St\at/e actors have here traded ’l‘ruth for Praise.

2. 'l‘his case is about the Truth: (i) that Professor Doe has never in his life
sexually harassed any person, and (ii) that once upon a time Professor Doe
entered a failing grade for a failing student who retaliated against him by
falsely alleging sexual harassment as a desperate Parthian shot calculated to
avoid her otherwise imminent and meritorious expulsion

 

1 Pursuant to case law discussed in/ra., due to the nature of the allegations in this lawsuit Plaintiff
proceeds under the pseudonym “Professor Doc” and identifies his accuser as “Jane Roe.”

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3. rl`hat a frequent recurrence to fundamental principles is absolutely necessary
to preserve the blessings of liberty.

4. Professor Doe asks patience from this Court for a longer than typical
Complaint and cites the complexity of the case and the unprecedented bar set
by the prevailingly bleak national atmosphere of litigation for litigants such
as he Who seek to challenge Title lX actions, as Well as the ever*changing
tides in the federal executive branch and Department of Education in
particular, Which have cast long overdue doubt on the status quo of Title IX
procedures since 2011.

5_. For the benefit of this Court Professor Doe here summarizes the facts of this
complex and multifaceted Complaint Which are pleaded With greater
particularity in sections succeeding this section:

SUMMARY OF THE FACTS

i. As of l\/lay 7, 2015 dane Roe Was a graduate student at The University
of North Carolina at Chapel Hill (“UNC”) Department of Sociology
(“department”) Who had previously earned an “L” (“loW~pass”) in two
core courses in her graduate program and Who-if she received one §1)
Mr_e “L” in any course-Would lose her student-visa, be expelled from
the program, and likely be deported from the United States of
America. Furthermore that dane Roe has been described by more
than one tenured professor at UNC as “the Worst” graduate student in
the entire history of the department

ii. As of l\/lay 7 Jane Roe Was enrolled in a core graduate course (“the
course”) taught by Professor Doe, a (then) tenure track professor, and
furthermore that this Was a course Whose difficulty Jane Roe had
been cautioned of by another faculty member Who Was familiar With
Jane Roe’s academic struggles.

iii Prior to 2015 Professor Doe Was considered by'his community as an
exemplary instructor, colleague, and mentor With no prior grievances
of any kind since his employment by UNC in 2009.

iv. On May 8 Jane Roe’s final grade in the course Was calculated by
Professor Doe and a grade of “L” Was entered, Which should have been
Jane Roe’s third and final "L” effectuating her expulsion

v. On l\/lay 8 Jane Roe hysterically harassed and stalked Professor Doe
at his office, across campus, (at times even grabbing him around the
Waist as h'e tried to get away) and into the parking deck Where she
stood behind his car and Would not let him leave, pleading for him to
change her grade and stating: "l’ll do anything, please [Professor Doe]
Do you Want to be responsible for my life being ruined?” 'l`hat
Professor Doe had to verbally and physically rep el and admonish Jane
Roe.

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vi. Professor Doe refused to change the grade

vii. There Was nothing Professor Doe or Jane Roe could do because: Jane
Roe’s receiving yet another “L” shocked no one in the department Who
had taught her.` Jane Roe had simply maintained her declining
academic trajectory and earned yet another “L.”

viii May 8 Was a Friday.

ix. The next business day (Monday, May 11) Jane Roe suddenly decided
to report purported sexual harassment by Professor Doe through
UNC’s Title lX/EOC office (“EOC”) which had, allegedly, been

constant and ongoing for an entire half-year.

x. ’l‘hough Jane Roe had failed her other#courses fair and square, this
course alone was purportedly all Professor Doe’s fault

xi. On May 14 Jane Roe met with another EOC officer to again formally
request an investigation of Professor Doe

xii On May 19 Jane Roe showed the real purpose of her sexual
harassment allegations by filing a formal Grade Appeal of her “L”
grade citing the (then) conveniently pending sexual harassment
investigation

xiii Although the Grade Appeal Committee Would ultimately find no error
in Professor Doe’s grading Whatsoever, they Would nonetheless be
forced to “consider” the EOC claims and, in so doing, Would, under real
and perceived pressure from UNC, begrudgingly be compelled to let
Jane Roe retake the course

xiv. Jane Roe’s graduate school career at UNC has included disciplinary
actions that should have informed an unbiased finder of fact regarding
her tendency for truth telling, including but not limited to: multiple
counts of flagrant plagiarism on papers and comprehensive graduate
exams, false claims concerning absences from class, and false claims
concerning grades achieved

xv. dane Roe’s EOC filings, Grade Appeal filings, and testimony at
hearings and interviews were based on demonstratively and
substantially false information, all to shield a juvenile avoidance of
being held accountable for failing a (third) class.

xvi. 'l‘he sexual harassment claim outrageously and falsely accused
Professor Doe of placing his hand on Jane Roe’s inner thigh for periods
of approximately ten (10) seconds and, in one version, for a total of ten
(lO) separate occasions from the vague and unspecified range of dates
from “the fall” of 2014 to l\/Iarch 19, 2015.

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xvii. ’l‘hat between Jane Roe’s EOC Cornplaint, Grade Appeal, EOC
investigative intervievv, and SGC hearing testimony there Would come
to exist multiple versions of “the number” of sexual harassment
occurrences, to the end that not only vvere Jane Roe’s allegations false:
they Were not even consistent

xviii. ’l‘he prior outstanding factrnust be repeated vvith emphasis: Of the
“ten” times Jane Roe alleges Professor Doe sexually assaulted her
from “the fall" of 2014 to l\/larch 19, 2015 she never has provided (and'
Was never asked to provide) anv specific date or time for the

assault§s ).

xix. That Jane Roe could not even provide evidence of ever being in
Professor Doe’s office ten (10) specific times at all, sexually harassed
or otherwise

xx. From l\/lay to August of 2015, an investigation by the EOC office Was
conducted Which violated Professor Doe’s substantive and procedural
due process rights under the state and federal constitutions, as
detailed below.

xxi. On August 24, 2015 the EGC’s Confidential Administrative Review
Report (“the EOC Report’) Was issued and found, in part, that
Professor Doe had sexually harassed Jane Roe-on no specific date or
time and on no specific number of times~and included a reprimand

limited to a briefl one-time training on sexual harassment for

Professor Doe.

xxii. That the EOC did not (because it could not) ever specify any specific
date(s), time(s), or number(s) of these purported assaults

xxiii That supplemental recourse to the anonymous course evaluations is of
no avail, as neither course Jane Roe completed under Professor Doe
included an even slightly negative review by any student (meaning
that Jane Roe did not negatively review Professor Doe even vvhen she
could have anonymously).

 

xxiv. Jane Roe appealed the EOC Report~because she thought UNC should
have fired Professor Doe_to the Student Grievance Committee
(“SGC”) and from August 2015 to January, the SGC appeal Was
conducted in a manner Which violated Professor Doe’s substantive and
procedural due process rights under the state and federal
constitutions, as detailed beloW.

xxv. There Was no listed option for the accused (Professor Doe) to appeal
the EOC Report.

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xxvi. On Noveinber 2, 2015 the Grade Appeal Committee’s findings Were
summarized in a memorandum penned by Dean Hartlyn: the
committee had found that Jane Roe indeed deserved the grade of "L,"
but that in light of the EOC Report they could not objectively say
Whether she Would not have also received an “L” under a different
professor, so she Was permitted to retake the course. (’l‘echnically, the
Grade Appeal Committee found that they vvould have assigned an
even lower failing grade to Jane Roe.)

xxvii. On January 12, 2016 the SCG Hearing Outcome vvas published
affirming the findings and recommendations of the Report, including a

reprimand limited to increasing sexual harassment training for

Professor Doe.

xxviii. From January 2016 to June 30, 2018 Professor Doe Was permanently
damaged by inappropriate and illegal activities (detailed belovv) from
various Defendants which culminated in his constructive discharge

~ from UNC (and free speech violations by UNC) after being defamed
and stripped of nearly all teaching privileges, committee posts, and
abilities to interact With students such that his employment Was
intentionally made intolerable to force him to leave; and that this
occurred in extreme excess of the reprimands advised by the EOC and
SGC and instead represent UNO capitulating to extreme outside
public pressures Which impermissibly Worked the injustice that
Professor Doe Was essentially guilty because charged

xxix. >To this day Professor Doe and several of his students and tenured
faculty colleagues vigorously maintain his absolute innocence and his
total deprivation by Defendants of proceedings even remotely
resembling due process

xxx. Throughout both parts of this timeline Professor Doe vvas repeatedly
pressured and advised (including by some Defendants) not to appeal
or challenge UNC given the risk it Would pose to his employment in
light of the charged national atmosphere regarding sexual
harassment

xxxi. That on June 25, 2018 the Offlce of Civil Rights through the
Department of Education issued a Letter of Findings stemming from a
multi»year investigation (ongoing While Professor Doe vvas accused
and convicted) Which made factual findings that UNC failed to
adequately implement certain Title lX protections for both parties, as
described in detail beloW.

xxxii. Jane Roe and other named or Well~alluded-to persons in this
Complaint usually entitled to confidentiality under 20 U.S.C. § 1232g
(“FERPA") have voluntarily vvaived/forfeited said confidentiality i.e.,
‘opened the door,’ by their pernicious defamation of Professor Doe~in
revealing the specifics of the allegations investigations findings, and

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reprimands on multiple occasions to third parties other than Professor
Doe who do not qualify under UNC policy2 as “need to know”
persons_and should therefore be estopped from attempting to bind
Professor Doe from seeking justice herein through naming their ill
deeds, which may unintentionally reveal their identities

6. This is a multifaceted action framed below as issuing from two distinct parts
of the above general timeline: Part-I being the events precipitating the May
2015 to January 2016 Title lX/EOC investigation and SGC appeal; and Part~
_l_l being the cruel and unconstitutional treatment of Professor Doe by
Defendants post January 2016.

7 . As Professor Doe is a strong supporter of the spirit of Title IX and has the
heart of a true professor, he does not herein name dane Roe or the other
malfeasant actors who are all his former students

8. Professor Doe could8 name dane Roe and the other malfeasant student actors.

9. The real party in interest is The Board of Governors of the University of
North Carolina, UNC, and Carol Folt in her official capacity by and through
their agents, employees, and administrators

10. Everyone can promise they Will not commit a crime, but no one can promise
they will not be charged, Which is why the United States of America has a
balanced and checked justice system. In this case, UNC’s responsibility to
execute a quasi-judicial function failed. This comes as a surprise to no one,
as it is only ever a matter of time before there is a miscarriage of justice in a
setting Where justice is being administered by those not trained in the law.
Professor Doe makes no accusation that all Title IX hearings violate
procedural due process rights, but does allege that in quasi"judicial settings
such rights are much more at risk than normal, and furthermore that in this
case his rights were violated

11. At university Title IX hearings one and the same entity (the University) (i)
contracts with all parties, as students or employees (ii) writes all polices, (iii)
enforces all policies, and (iv) adjudicates the interpretation of all policies Put
differently, the universities are made ‘judges in their own cases,’4 a threat to
justice avoided at all costs since the earliest days of the Common Law.

 

2 See, Policy on Prohibited Discrimination, Harassment and Related Misconduct Inciudi_ng Sexual and

» Gender~Based Harassment, Sexual Violence, Interpersonal Violence and Stalking, §§ lIl (C) and VII (A)
(eff:`ective and last revised 8/28/14) thttpsr//unc.policystat.com/policy/¢i§14917/1atest[) (accessed duly 10,
2018 at 11:41 AM),

3 Students who are unnamed in this action likely could have been named and would be estopped from
defending with statutory confidentiality because they voluntarily waived of any comidentiality afforded
under federal law due to their own intentional past and ongoing acts of publicizing the information
herein to third/public parties, to the extent of defaming Professor Doe. _

4 “Aliquis non debet ess jndex in propria causa, into iniquum est aliquem suae rei esse judicem” (Because
someone ought not be a judge in his own cause, for it is unfair for someone to be a judge in his own
affairs). Dr. Bonham’s Case, 8 Co. Rep. 107a, 118a, 77 Eng. Rep. 638, 652 (1610); see also, Kendall v.
Stafford, 178 N.C. 461, 101 S.E. 15, 13 (1919) (“lt is an ancient maxim, applicable in all cases, civil or

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12. In the words of a renowned litigator Who has stood on both sides of the isle in
Title lX proceedings “Justice is not the result, it’s the process We give
ourselves over to a system, We lose, We win. We hate losing, but you are able
to at least say: ‘l couldn’t have asked the judge to do more than he did. lie
listened, he thought, he read.’ Here [Title IX] you are not having that
experience.”5

13. ln the Words of a retired female federal judge now Harvard law professor, the
Hon. Nancy Gertner, “lt [’l‘itle lX proceedings] is the Worst of both worlds, the
lowest standard of proof coupled with the least protective procedures.”6

14, That the Hon. Gertner and three (3) other female, feminist Harvard law
professors who have “researched, taught, and written on Title lX, sexual
harassment sexual assault, and feminist legal reform” jointly penned an
article in 2017 excerpted at length here to survey the severity of issues at
stake and the mounting national recoil against what has been the status quo
since 2011: -'

ln the past six years, under pressure from the previous
Administration, many colleges and universities all over the
country have put in place new rules defining sexual misconduct
and new procedures for enforcing them

ln 2011, OCR issued a “Dear Colleague Letter” which gave
colleges and universities instructions on how to regulate this
area. That document was never opened for notice and
comment and as a result does not itself have the force of law
and could not add new obligations for regulated parties
Nevertheless the previous Administration’s OCR, threatened
colleges and universities with the institution~wide cutoff of all
federal funding if they did not comply with the Dear Colleague
Letter’s instructions, including ones that had never before been
considered legally required by Title lX. Terrified,
administrators not only complied; they over-complied

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Definitions of sexual Wrongdoing on college campuses
are now seriously overbroad They go way beyond accepted
legal definitions of rape, sexual assault, and sexual
harassment They often include sexual conduct that is

 

criminal, where judicial functions are to be exercised, whether in proceedings of inferior tribunals or in
courts of last resort, that no man ought to be a judge in his own cause, a maxim Which appeals with
such force to one’s sense of justice that it is said by Lord Coke to be a natural right So inflexible that an
act of Parliament seeking to subvert it would be declared void.”) (internal quotations and citations
omitted). '

5 Kathryn doyce, The Takedown of Ti£le IX, N.Y. Times, Dec, 5, 2017 (available at
httDSZ//Www.nvtimes.com/2017/12/05/maeazine/the-takedown~of~title-ix.html) (accessed duly 10, 2018 at
4:28 PlVl) (quoting Andrew T. Miltenberg).

6 Id.

 

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merely unwelcome, even if it does not create a hostile
environment, even if the person accused had no way of
knowing it Was unwanted, and even if the accuser’s sense that

. it was unwelcome arose after the encounter Overbroad
definitions of sexual wrongdoing are unfair to all parties, and
squander the legitimacy of the system.

Though OOR did not require schools to treat accused students
unfairly in the investigation and adjudication process, its
tactics put pressure on them to stack the system so as to favor
alleged victims over those they accuse The procedures for
enforcing these definitions are frequently so unfair as to
be truly shocking. Some_~colleges and universities fail
even to give students the complaint against them, or notice
of the factual basis of charges, the evidence gathered, or the
identities of witnesses Some schools deny the parties
the right to see the investigative report or get copies for
their lawyers for preparing an appeal

Some Title ]X officers even take on the role of advisor
to an accuser through the process of complaint, investigation
adjudication or appeal, Which means they are not neutral.
They do so} moreover, Without providing analogous support of
the accused.

Cornpounding matters, many institutions follow the ’
“investigator only” or “single investigator” model,
wherein the investigator is also the adjudicator. In this
model, there is no hearing. One person conducts interviews
with each party and witness, and then makes the
determination whether the accused is responsible No one
knows what the investigator hears or sees in the interviews
except the people in the room at the time This makes the
investigator all~powerful, Neither accuser nor accused can
guess what additional evidence to offer, or what different
interpretations of the evidence to propose because they are
completely in the dark about what the investigator is
learning and are helpless to fend off the investigator’s
structural and personal biases as they get cooked into
the evidence~gathering.

These common arrangements together offend two requirements
of fairness,' neutral decision makers who are independent of the
school’s compliance interest, and independent decision makers
providing a check on arbitrary and unlawful decisions

These substantive and procedural fairness issue are
exacerbated by ()CR’s requirement that institutions use

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a preponderance of the evidence standard rather than a
higher standard such as clear and convincing evidence

Only when schools adopt both fair procedures and fair
substantive definitions will the sanctions they levy send the
message that sexual misconduct is unacceptable Now,
instead, they send a dreadful message that fairness is
somehow incompatible with treating sexual misconduct
seriously That message is wholly unnecessary

The unfairness that currently infects colleges and
universities’ procedures is in no way necessary to
address the problem of sexual misconduct lndeed, it is
counter~productive, undermining the legitimacy of the
important project of addressing sexual misconduct

Elizabeth Bartholet, The Hon. Nancy Gertner, Janet Halley & Jeannie Sul;
Gersen, Fairness For AZZ Students Under Title IX (Aug. 21, 2017) (accessed on
duly 6, 2018 at 8:36 AlVl) (http://nrs.harvard.edu/urn-
3:HUL.lnstRer)os:33789434) (bolded emphasis added; italicized emphasis in
original).

15, Following the exhaustion of all adequate administrative remedies which
would not be futile or inadequate as shown by supporting authority below
and which exceed mere anticipation or prediction, Professor Doe now brings
this action against Defendants for the following summarized claims detailed
and pled at length and with particularity in the sections succeeding this
section:

SUMMARY OF CLAIMS

i. Civil claim against The Board of Governors of the University of North
Carolina, UNC, and Carol Folt in her official capacity as UNC’s
chancellor for violation of ’l‘itle lX in allowing an erroneous outcome
fueled by an impermissible gender bias which far exceeded mere “pro~
victim" sentiments by all of the following: expressly by one of Jane
Roe’s key witnesses who testified against Professor Doe yet later
stated she had a “natural suspicion and distrust of men accused of
sexual harassment” and was willing to “start a war" over “gender
issues” at UNC if necessary to get them taken "seriously"; indirectly
and inferentially by the Administrative Reviewer who did not disclose
the credibility limitations of Jane Roe’s key witness, which limitations
she was informed of; and indirectly and inferentially by UNC in
general in light of the ongoing Dep artment of Education investigation
into the campus EOC office, the general campus atmosphere as
evidenced by public statements by UNC's administrators~all of which
impermissibly affected the Title IX proceedings;

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ii. Civil claim against The Board of Governors of the University of North
Carolina, UNC, and Carol Folt in her official capacity as UNC’s
chancellor for violations of Professor Doe’s procedural due process
rights under both state and federal constitutions which implicate and
stigmatize Professor Doe’s hallowed liberty interest in his reputation
by all state actor defendants for the numerous and rank procedural
inadequacies of `the ’l`itle IX proceedings which cast articulable doubt 4
on the accuracy of the outcome based on the record before the
disciplinary tribunal including but not limited to said proceedings: (l)
being arbitrary and capricious, (2) involving substantially false
information, (3) lacking a disinterested tribunal (4) substantially
departing from academic norms, (5) giving only perfunctory
explanations for findings and recommendations and (6) failing to give
Professor Doe adequate notice of the specific charges brought against
him which disabled Professor Doe from preparing a meaningful
defense

iii Civil claim for constructive discharge of Professor Doe from his place
of employment against 'l‘he Board of Governors of the University of
North Carolina, UNC, and Carol Folt in her official capacity as UNC’s
chancellor for deliberately making Prol"essor Doe’s working conditions
intolerable thereby forcing him to not renew his contract Ml state
and federal free speech violations under the same facts to the extent
Defendant State actors demoted and terminated Professor Doe
because of his exercise of protected speech which was of concern to the
public in declaring his innocence from the monstrous claims that he
was a deviant sexual harasser, which claims were causing objective,
measurable alarm in the community;

iv. Civil claim for substantially breaching Professor Doe’s valid contract
for employment, against The Board of Governors of the University of
North Carolina, UNC, and Carol Folt in her official capacity as UNC’s
chancellor

v. Civil claim against Defendants The Board of Governors of the
University of North Carolina, UNC, and Carol Folt in her official
capacity as Chancellor of UNC, by and through their agents,
employees, and administrators for defamation of Professor Doe by
slander per se for spoken publication to individuals other than

l Professor Doe accusing Professor Doe of having committed the crime
or offense of sexual harassment when she knew or should have known
that statement was false;

vi. Civil claim against The Board of Governors of the University of North
Carolina, UNC, and Carol Folt in her official capacity as UNC’s
chancellor for negligence int not carrying out the EOC and SGC
proceedings with reasonable care and with due regard for the truth,
and not following internal UNC procedures

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vii. Declaratory judgment action determining the rights and obligations of
the parties pertaining to the inaccurate and misleading information
from the rl‘itle IX proceedings in Professor Doe’s personnel file and for
injunctive reliei1 in the form of this Court ordering the official state
actor (Ann Lemon) to remove from Professor Doe’s personnel file the
inaccurate and misleading information from the Title lX proceedings;

viii. l\/Iotion for preliminary injunction enjoining the department head
(Defendant Kenneth T. Andrews) below from exercising his discretion
under N.C. Gen, Stat. § 126-24 pending the resolution of the
declaratory judgment action in that regard, insofar as Professor Doe
herein ShoWs the likelihood of his success on the merits in said action
and further shows he is likely to sustain irreparable loss Without the
award of the preliminary injunction;

ix. l\/lotion for injunctive relief enjoining Defendants The Board of
Governors of the University of North Carolina, UNC, and Carol Folt in
her official capacity as Chancellor{ of UNC, by and through their
agents, employees, and administrators from further defamation by
slander per se, or otherwise, pending the resolution of the civil claim in
that regard, insofar as Professor Doe herein shows the likelihood of his
success on the merits of said defamation claim and further shows he is
likely to sustain irreparable loss without the award of the preliminary
injunction.

X. Civil claim against Carol Folt in her official capacity as Chancellor of
The University of North Carolina for Professor Doe’s right to mal<e a
Coru,m claim for remedying violations of his constitutional rights in
the face of the inadequacy or else inaccessibility of an alternative state
common law or statutory remedy;

Xi. Prayer for relief that any civil claim, declaratory judgment action, or
motion for injunction herein pleaded be judicially construed_if and
only if deemed necessary~#as a timely petition for judicial review
pursuant to N.C. Gen. Stat. § 150B~45(a) or alternatively, in the case
deemed untimely, pursuant to N.C. Gen. Stat. § lSOB~45(b) for good
cause shown.

16. The most poignant summary of the type of ilagrant*procedural wrongs
endured by Professor Doe Was provided in the Walce of the EOC Report While
the SGC appeal Was pending by his UNC supervisor and department chair
Kenneth T. Andrews, who privately stated in a closed door session:
“[Professor Doe], it isn’t about What you did or didn’t do at this
point. It’s about perception, and What these students are Willing to
do, not just to you but t0 the department, even me.”

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17.

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19.

Contrary to this remark by a UNC agent/employee all too indicative of the
“guilty when charged” times which have predominated these disciplinary
courts since the infamous (now formally withdrawn as of 20177) 2011 Dear
Colleague Letter and 2014 Questions and Answers circulated to universities
such as UNC by the Department of Education’s Oi`fice for Civil Rights to
guide their administration of, inter alia, 'l‘itle lX’s EOC proceedings,
Professor Doe now seeks redress from a genuine court bound by the
Rule of Law--not the Rule of Zeitgeist_and alleges: lt is precisely
(and only) about what Professor Doe did or did not do.

PARTIES. JURISDICTION. & VENUE

That all preceding paragraphs are specifically incorporated by reference and~
are specifically re-alleged as though laid out in full herein.

y PARTIES
That this Court is vested with the requisite personal jurisdiction over all
parties named to this action as follows:

i. That at all relevant and material times Professor Doe has been and is
a resident citizen domiciled in Orange County, North Carolina.
Furthermore that until June 30, 2018 Professor Doe was an assistant
professor with his employer, The University of North Carolina at
Chapel Hill (“UNC”).

ii. That at all relevant and material times Defendant The University of
North Carolina has been and is a body politic and corporation, having
the capacity to be sued, pursuant to N.C. Gen. Stat. § 116-204(7).

iii. That pursuant to N.C. Gen. Stat. § 116~4 Defendant The University of
North Carolina is comprised of constituent institutions of higher
education, including UNC, thus all knowledge, acts and omissions to
act alleged herein as attributable to UNC and its administrative
officers is alleged to have been the knowledge, acts and omission to act
of The University of North Carolina.

iv. That UNC is an institution of higher education located, operated,
managed in Orange County, North Carolina for over 200 years

v. That at all relevant and material times Carol Folt has been and is the
Chancellor of UNC and is named only in her official capacity pursuant

 

7 “The Department of Education is also withdrawing the Dear Colleague lietter on Sexual Violence
dated April 4, 2011, and the Questions and Answers on title IX Sexual'Violence dated April 29, 2014.
The withdrawn documents ignored notice and comment requirements created a system that lacked
basic elements of due process and failed to ensure fundamental fairness.” Department of
Education, September 22, 2017 Press Release (https://www.ed.gov/news/press~releases/department-
education~issues»new-interim~gnidance~campus~sexual~misconduct, last visited Jime 5, 2018)
(emphasis added). `

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to N.C. Gen. Stat. § 116~34 for being the administrative and executive
head and exercising “complete authority” therein, subject to direction
from the President of the Universityi

vi. That at all relevant and material times Ann Lemon has been and is
the Assistant Provost for Academic l?ersonnel and is named only in
her official capacity pursuant to the injunctive relief prayed for by
Professor Doe under N.C. Gen. Stat. § 126-25(b), namely the correction
or removal of the inaccurate and misleading information in his y
personnel file.

vii That at all relevant and material times Kenneth T. Andrews has been
and is the department head of the department in which Professor l)oe
was employed, and that Defendant Andrews is named in his official
capacity pursuant to the injunctive relief prayed for by Professor Doe
under N.C. Gen. Stat. § 126-24, namely the enjoining of Defendant
Andrews from exercising his discretionary disclosure powers as
department head to allow Professor Doe’s personnel file to be
inspected or examined

JURISDICTION
20. This Court is vested with the necessary subject matter jurisdiction as follows:

i. This Court is generally vested with subject matter jurisdiction over
Professor Doe’s state and federal constitutional claims, constructive
discharge claim, breach of contract claim, and defamation claim which
are each and all cognizable claims of a civil nature under N.C. Gen.
Stat. § ’7A~240.

ii. This ‘Court is specifically vested with subject matter jurisdiction over
Professor Doe’s declaratory judgment action and injunctive relief
pursuant to N.C. Gen. Stat. § ’7A-245(a).

iii. rl‘hough Professor Doe brings all claims as original actions and not as
Petitions for Judicial Review under N.C. Gen. Stat. § 150]3-145,
nonetheless if this Court finds it necessary to so construe Professor
Doe’s actions as petitions that Professor Doe in that case and for such
claim(s) alone does then bring said claim(s) as Petitions for Judicial
Review timely filed under N.C. Gen. Stat. § 150B-145(a) or else
untimely under N.C, Gen. Stat. § lBOB~145(b) but for good cause
shown (detailed below) as Professor Doe either acted in good faith
expectation that further appeal was not necessary or wise insofar asi

a. He relied on UNC to only reprimand him Within the
scope so laid out in the EOC Report and SGC Notice of
Hearing Outcome;

b. He faced mounting pressures d from his supervisor and
department head to not further appeal, insofar as he was being

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continuously punished (in excess of the reprimands) by the
erodi'ng removal of his professional responsibilities and an
appeal Would only have exacerbated those tensions;

c. lie faced intensifying campus opposition through those who
expressly stated to him personally they would “start a war” on
“gender issues” if needed to have them taken “seriously”;

d. lie faced a department and campus»wide chilling pressure to
not appeal within a futile and inadequate system that would
only punish him for doing so;

e. He was aware of the ongoing Departinent of Education
investigation of UNC’s EOC office; '

f. lie was aware of the increasingly zealous prosecution of ’l‘itle
lX claims which would later be shown in the year of 2014 to
2015 to have increased by over fifty-two percent (52%); and

g. He was not provided adequate notice by UNC policy
procedures8 referenced by the SGC Notice of l~learing Outcome

of the thirty day limit of his (timely) appeal rights in N.C. Gen.
Stat. §~150]3~145(31).. ‘

21..’l‘hat the State is divested of any defense of sovereign immunity int
i. Cases brought under ’l‘itle lX;
ii Cases arising out of contracts entered into;
iii. C'orum claims prosecuted in the name of the individual State actor;

iv. Declaratory Judgment Actions prosecuted in the name of the
individual State actor; and

v. lnjunctlve relief sought against individual State actor.

VENUE
22. That venue is shown to be properly with this Court as follower

i. That at all relevant and material times Professoi‘ Doe has been and is
now a resident and citizen of Orange County, North Carolina.

 

8 See, Pi‘ocedures for Reporting and Responding to Coznplaints of Discriinination, Harassment, and
Related Misconduct lnvolving a Studcnt as a Reporting Party and a University Employee as a

Responding Party § lII(E)
(https://eoc.imc.edu/files/ZO15/05/Procedures for Reports by Students Against Emploveesl.pdf)

(accessed July 10, 2018 12:23 PM).

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ii. That at all relevant and material times a majority of Defendants have
been named in their official capacities as employees or administrators
for The University of North Carolina at Chapel Hill, an institution of
higher education located operated, and managed in Orange County
for over 200 years

iii At all relevant acts to the Complaint occurred in Orange County,
North Carolina.

FAC’I‘S

23. That all preceding paragraphs are specifically incorporated by reference and
specifically re~alleged as though laid out in full herein.

24. That as stated above, this action stems from a timeline that is most
effectively presented in two parts as divided by the date of the Student
Grievance Committee (“SGC”) “Notice of Hearing Outcome” distributed on
January 12, 2016.

Part_l
(Facts prior to January 12, 2016)

25.’l‘hat Professor Doe began employment with UNC in 2009, being the top
choice candidate from a highly selective applicant pool.

26. That Professor Doe worked for UNC under contract for six (6) years without
ever receiving a complaint or concern from any student or colleague
regarding sexual deviancy of any kind.

27. That Professor Doe has never in his life-aside from the allegations at
UNC--been accused of a crime of moral turpitude.

28. That Professor Doe was known at, and known by, UNC as a safe and trusted
advisor to vulnerable community members, insofar as:

i. ln 2011 Professor Doe was listed (and paiticipated) as a formal
interviewee in support of another female UNC community member
who faced sexual harassment; and also that

ii ln a year not identified for confidentiality purposes, but prior to 2015,
Professor Doe was specincally tasked with successfully mentoring a
female UNC community member laboring under severe psychiatric
hardships including successfully deescalating a potential suicide
incident

29. That by 2014 Professor Doe had justified ambitions to earn tenure within the
UNC Department of Sociology, was designated as a “tenure trac ” faculty

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member, and was proceeding upon said “track” towards tenure based on,
among other professional pedigree credentials his reputation

30. That in addition to his subject matter erudi`tion, Professor Doe’s immensely
positive reputation on campus was intimately connected with his joviality,
warmth, compassion and camaraderie in the classroom.

31. That in addition to his exceedingly positive classroom presence, Professor Doe
was a “legendary” social committee member and, later, committee chair.

32. That Professor Doe has technically had innocuous “physical contact” with
many students and colleagues in forms such as: high fives, handshal;es, an
arm around the shoulder, holding of a hand in an emotional crisis, or a
friendly punch in the arm, or (the act at issue in this case) a Hst bump to the
outer knee of someone seated next to him.

33. That all who know Professor Doe_including Jane Roe, before it benefitted
her later to falsely re-characterize the above conduct as unwelcome to avoid
expulsion and likely deportation-~would describe this conduct as the sort
often associated with successful encouragement, such as "l‘here it isl’ ‘Ata-
boy!’ or ‘Correct!’

34. That Professor Doe first met Jane Roe in August, 2014 at Which time she was
a graduate student in a graduate course he taught.

35. That on or about Thursday October 2_, 2014 dane Roe caine to Professor Doe’s
office sobbing about possible deportation for an event unrelated to Professor
Doe. That Professor Doe offered her a tissue and listened to her at length,
including a brief period during which when the two held hands during an
instance of particularly strong crying by Jane Roe.

36. That Jane Roe was so comforted by, appreciative of, and cleaer not offended
in any way by Professor Doe’s above described support that on October 7 she
actually followed up with an email expressly thanl:ing him for the support he
gave her on that day, even concluding the email with “Love, [Jane]”.

37 . That nonetheless, at the conclusion of the 2014 fall semester Jane Roe did not
perform at a passing level and was only shielded from yet another “L” at the
good grace of Professor Doe, who, like all professors, had the right `to adjust
scores within certain margins

38. That based on her shoddy performance in the fall course, Professor Doe
verbally informed Jane Roe that she had only barely “passed” the fall course.

39 That Professor Doe warned Jane Roe on multiple occasions that his more
advanced course in the spring of 2015 would require considerably greater
improvement than she had shown in the fall of 2014.

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40. That Jane Roe nevertheless enrolled in Professor Doe’s spring 2015 course
(“the course”) but failed to improve her performance as Professor Doe had
instructed

4l. That by early February Jane Roe was already failing the course.

42. That on March 24, 2015 Professor Doe’s supervisor, Defendant Kenneth ’l‘.
Andrews, had a meeting with Professor Doe where he told Professor Doe a »
student had anonymously complained solely regarding the issue of Professor
Doe’s office quarters being too tightly arranged and that it was sometimes
awkward to meet with Professor Doe because of the narrow desk
configurationl

43. That this March 24 meeting is later the subject of hindsight revisionist
tampering by UNC through its agents, namely: that it was later alleged by
UNC that at this time Professor Doe was in fact then advised glen regarding
physical touch from EOC complaints That this is impossible for two reasons:

i. The l\/larch 24 meeting could not have stemmed from an EOC
complaint because under UNC policy9 Professor Doe would have had
to receive written notice of the charges (which he never received
because there were no March charges); and

ii The l\/larch 24 meeting could also not have stemmed from a
student(s)’s report of conduct actually rising to the level of possibly
violating UNC policy, because if it had then Defendant Kenneth T.
Andrews would have been in breach of his duty as a “Responsibie
Employee” under UNC policy 10 (having both administrative and
supervisory responsibilities over both students and employees) for not
having himself reported it to the EOC, which report he did not do
because of the facts alleged in the immediately preceding par'agraph,
i.e., no notice to Professor Doe evidencing EOC charges

44.That, regarding what the March 24 meeting actually pertained to (oi`fice
furniture): Professor Doe had his desk arranged “tightly” as a collateral
consequence from his following the advice of a senior colleague in his first
years at UNC who had advised him to so arrange his desk for the reason that
Professor Doe’s original desk configuration did not face his computer screen
towards the door, which sometimes can draw a negative comment on
performance reviews for productivity reasons Following the advice of this

 

9 See, Procedures for Reporting and Responding to Complaints of Discrimination, Harassment, and
Related Misconduct lnvolving a Student as a Reporting Party and a University Employee as a
Responding Party § lll (C)(l)

(https://eoc.unc.edu/iiles/ZO15/05/Procedures for Reports bv Students Against Emploveesl.pdi)
(accessed July 10, 2018 12:23 PM).

10 See, Policy on Prohihited Discriminaijon, Harassnlent and Related Misconduct lncluding SeXual and
Gender~Based Harassment, Sexual Violence, lnterpersonal Violence and Stalking, § VI (A) (effective
and last revised 8/28/14) (httos://unc.policvstat.com/policv/45 l4917/latest/) (accessed July 10, 2018 at

11:41AM).

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colleague, Professor Doe had (many years ago and without complaint)
rearranged his desks so his screen faced the door, with the unintended (and
only w ever complained oi) result that the remaining space in which to sit
if you were a guest in Professor Doe’s office felt “cramped” (to some).

45. That Professor Doe nonetheless followed the furniture arrangement advice of
Defendant Kenneth T. Andrews and rearranged his office quarters to the
effect that there were no further complaints from students ever
communicated to Professor Doe until Jane Roe’s May sexual harassment
charges were brought so that she would not flunk out of the program.

46. That despite repeated warnings Jane Roe’s performance never improved

47. That at the end of the semester, on May 8, Professor Doe was obligated to
enter Jane Roe’s grade as “L” (“low pass”).

48. That Professor Doe has only given tug “L”s in his entire career at UNO.

49. That this poor grade‘-if it stood--would be the third such “L” grade and thus
mean the immediate end of Jane Boe’s academic career at UNC and the end
of her lawful presence in the United States of America under her student

visa.

50.That on l\/lay 8 as Professor Doe was preparing to travel to campus, he
received a warning call from a concerned colleague who stated that Jane Roe
was seen “wearing a fitted dress” and “wandering around, hovering, and
waiting" for Professor Doe near his office

51. That on 1\/lay 8, the same day she received word of her “L" grade, Jane Roe
bombarded Professor Doe with the following harassment

i. An avalanche of emails and calls, even obtaining and using his private
cell phone number without Professor Doe’s permission

ii. lnsisting on an in-person meeting with Professor Doe against
Professor Doe’s objections, and showing up to said meeting dressed
with uncharacteristic sexuality as noted by other colleagues

iii. Stalking Professor Doe across campus over his repeated explanations
that there was nothing he would do to change her grade and nothing
she could do to change it herself at this point

iv. lnitiating unwanted physical contact with Professor Doe over his
objections and even clasping her arms around his torso begging him to
reconsider, stating: “I’ll do anything, please [Professor Doe] D_o you
want to be responsible for my life being ruined?” That Professor
Doe had to verbally and physically repel and admonish Jane Roe.

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v. Continuing to follow Professor Doe into the parking garage and
standing behind his car not allowing him to leave after he had ended
the conversation and entered the privacy of his personal vehicle.

vi. Claiming she had “lost her bearings” and pleading for Professor Doe to
give her a ride back to the department

vii ln an effort to appease a clearly unstable person Professor Doe

' acquiesced to drop Jane Roe off near the department which was on his
way out of campus, but after entering his car and riding the short
distance to the drop off point, she then refused to get out of his car
until Professor Doe~having repeated himself multiple times for her to
leave his vehicle_finally resorted to raising his voice at dane Roe to
make her leave,

52. That Jane Roe has admitted the facts in the paragraph innnediately
preceding this paragraph

53. That May 8, 2015 was a Friday.

54 That the next business day G\/londay, May ll) Jane Roe met with then EOC
Deputy 'l‘itle lX Coordinator Ew Quimbaya»Winship to report Professor Doe’ s

purported sexual harassment

55 That on May 14 Jane Roe met with the Administiative Reviewer Laura
DePersia (“Administrative Reviewer”) and again requested that UNC
formally investigate Professor Doe

56. That UNC implements the “single investigator” model which has come under
much criticism even from feminist legal scholars, as shown above.

57. That UNC implements an EOC investigation model that denies both parties
a_ hearing at the investigation stage which has come under much criticism
even from feminist legal scholars, as shown above.

 

58. That:
lt is manifest that some kind of hearing is required at

some time before a person is finally deprived of his
property interests Man being what he is cannot safely be
trusted with complete immunity from outward responsibility in
depriving others of their rights That a conclusion satisfies
one’s private conscience does not attest its reliability The
validity of a conclusion largely depends on the' mode by
which it Was reached No better instrument has been
devised for arriving at truth than to give a person in jeopardy
of serious loss notice of the case against him and opportunity
to meet it. Nor has a better way been found for generating the
feeling, so important to a popular government that justice has
been done.

 

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DeBruhZ u. Mecklengurg Cozmty Sheriff’s Office, ”_S.E.2d_* 2018 WL
1801628 (April 17, 2018) (citing Wolf U. McDon,nell, 418 U.S. 539, 557-58 41
L. Ed. 2d 93_5, 952 (19'74) and Joint An,ti-Foscz'st Refugee Com,mt`ttee, 341 U.S.
123, 1'71-'72, 95 L. Ed. 817, 854 (1951)) (emphasis added).

59. That the specific allegations by Jane Roe regarding Professor Doe’s purported
sexual assault of her during the vague and unspecific timespan of “fall of
2014 to March 19, 2015” Were as follows:

i. That during closed door one~on-one meetings he Would have Jane Roe
sit next to him;

ii. That during closed door one-on~one meetings When Jane Roe Would sit
next to him, he on “at least” ten (10) occasions placed his hand on her
inner thigh for ten (10) seconds “each time”; ' »

iii. That during closed door one~on- one meetings When Jane Roe Would sit
next to him he placed his hand on her shoulder for “several” seconds,'

iv. That during closed door one~on~one meetings When Jane Roe would sit
next to him he grabbed her hands and looked into her eyes; and

V. That he Would Write _On assignments, “meet me in my office” or “l’m
happy to meet With you,” in order to lure Jane Roe to his office.

60. That the above vague and unspecific allegations gave ]:"rofessor Doe no
meaningful notice and thus no meaningful opportunity to prepare for his
subsequent interview With the Adniinistrative Revievver and ultimate SGC

appeal.

61. That, for good reason, the above vague and unspecific allegations Would not
ever have been sufficient in an authentic tribunal even under the low bar of
notice pleading required through Federal and North Carolina Rules of Civil
l:"rocedure, Which although not binding on administrative tribunals are
nonetheless informative as to due process violations See, North Carolina
Rules of Civil Procedure, Rule S(a)(l) (2018); see also, Rink & Robinson,
PLLC u. Ccztawbo Valey Enterprises, LLC, 220 N.C.App. 360, 366, 725 S.E.Zd
426, 431 (2012).

62. That Jane Roe further alleged her failing grade Was not her fault but Was an
elaborate retaliatory response by Professor Doe based on Jane Roe’s artificial
contention that Professor Doe believed that it had been Jane Roe (and none
other) Who had reported the close office quarters “issue” in March, 2015.

63. That at this May 14 meeting the Administrative Reviewer accepted Witnesses
from Jane Roe Who Jane “believed could offer information about their similar,
personal experiences with Dr. l:"erez."

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64. That at subsequent meetings With Professor Doe the Administrative
Reviewer Would not accept character Witnesses of Professor Doe.

65. That the EOC failed to follow its own rules and procedures (then in effectll)
by failing to attempt ANY “informa ” resolution Whatsoever:

PROCEDURES FOR REPORTING AND RESPONDING TO
COl\/IPLAINTS OF DlSCRIl\{IINATION, HARASSMENT, AND
RELATED MISCONDUCT lNVOLVlNG A STUDENT AS A
REPORTING PARTY AND A UNIVERSITY EMPLOYEE AS A
RESPONDING PARTY

To Implement the Policy on Prohibited Discrimination,
Harassment and Re£ated Misconduct Including ,S'exual
Violence, Interpersonal Violence and Stalking

lll. Administrative Review Process

The purpose of an Administrative Review, Which Will include
interviewing the parties and Witnesses, is to gather and assess
the facts relevant to the complaint and to make
recommendations to equitably address the concerns in order to
resolve the complaint

B. Determination of Whether to Conduct an
Administrative RevieW

1. Administrative Revievv Deemed Appropriate

If the Complainant alleges conduct that appears
to violate the Policy, the Equal Opportunity and
Compliance Office Will initiate an Administrative
Review if informal attempts at resolution have
been unsuccessful

(underlined emphasis added; other emphasis in original).

66. That to the extent Defendants Will argue the March 24, 2015 meeting
effectuated an “informal" attempt at resolution: (i) there Was n_o EOC
charge_-none at least that Professor Doe received constitutional notice of~
pending at that time, but most importantly (ii) the l\/larch 24, 2015 meeting
Was successful by all Witnesses’ accounts at having corrected (hence, resolved)
the “cramped” office quarters (and thus physical “bumping”) issues

 

1f]?olicy provisions from 2015 available at:

littps: //eoc unc edu/files/ZO15/05/Procedures for Reporte by Students Against Employeeel. pdf (last
viewed July 6 at 1135 PM).

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67.That on or about May 15 two senior level faculty members in the same
department met to have lunch: Kathleen M. Harris (“Professor Harris”) and
Guang Guo (“Professor Guo”).

68. That Professor Guo was the graduate advisor and sole recruiter for Jane Roe,
thus biased in her favor to the extent that advisees’ success is known and g
taken in the academic profession to be a reflection of their recruiter and
advisor.

69. That, among other things, at the May 15 lunch:

i. Professor Guo expressed that Jane Roe had recently told him that
Professor Doe had fist bumped the outside of her leg.

ii That Professor Harris did not understand the issue

iii. That Professor Guo stood up from his seat at the restaurant to better
physically demonstrate a bump of the fist to the outer knee and
convey to Professor Harris What Jane Roe had told him.

iv. That Professor Harris recalls this because she thought it so strange.
v. That Professor Guo expressly said the contact was “not sexual”.

70. That the above recitation of ‘vvhat Jane told Guo’ is the actual truth, though
later Professor Guo Would falsely state that Jane had actually told him a
story involving inner thigh touching, but that such a claim is unbelievable or
else self~incriminating for Professor Guo since as a “Responsible Employee”
under UNC policies, Professor Guo would have been obligated to report such
conduct, which he did not do.

71. That on May 19 (after filing the sexual harassment charges) Jane Roe
brought a formal Grade Appeal challenging her failing Professor Doe’s class
on the basis that her grade was “arbitrary,” “based on sexual harassment,”
“possible retaliation,” and that Professor Doe used “questionable grading and
criteria.”

72. That an analysis of the claims in Jane Roe’s appeal reveals that while ninety-
seven percent (97%) of its allegations regard grading methodology, only three
percent (3%) of its allegations are attributable to the purported sexual
harassment l ‘

73. That this seguencing of claims was intentionally orchestrated by Jane Roe to
give her grade appeal the highest chance of success, i.e., that by alleging

Professor Doe’s purported sexual assault caused a hostile work environment
it would be impossible for dane Roe to be held accountable for in fact having
simply maintained her academic trajectory of being a substandard failing
student (As shown below, this vvas exactly the ultimate result: the Grade

..22.

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Appeal Committee r‘found no evidence that the instructor deviated from
grading requirements However [the Grade Appeal Committee] could not
objectively determine the extent to which the cited harassment (as
determined by the EOC) [sic] made it difficult to perform at a passing level in
the course.”)

74. That Jane Roe’s Grade Appeal contained substantially false information, to
wit:

i. That Jane Roe made at least fourteen (14) lies by commission, i.e.,
statements that were definitively refuted by existing records provided
by Professor Doe in his (required) response to the Grade Appeal, For
example, claims such as, “I got one of the highest scores on the exam,”
or “l have been a strong overall student;”

ii. That dane Roe made at least nine (9) lies by omission, i.e., deliberately
withheld pertinent information For example, claims such as, “l-le
never returned Homework 8” while failing to mention that there was
no ‘Homework 8,’ and her claim that her absences should have been
excused because she sent a request to the Teaching Aseistant asking
him to setup a video~conference for her, while omitting that she did so
only sixty (60) seconds before class began;

iii. That dane Roe made at least three (3) unsubstantiated claims, i.e.,
claims made without any supporting documentation other than her
own wishful thinking For example, claims such as, “[Professor Doe]
was likely to know that l filed a harassment charge on [date],” or
“[Professor Doe] tried to give me 100% on my participation score;” and

iv. That in approximately eighty~eight percent (88%) of her Grade Appeal
claims she either contradicts the record or wantonly distorts it.

75. That on June 2 Professor Doe was notified of the pending charges and Grade
Appeal and that ever since his notification of the pending charges he began
keeping meticulous notes regarding meetings and conversations with anyone
involved in his case.

76.That Professor Doe was interviewed on June 9 and June 10 by the
Administrative Reviewer.

77. That between June 19 and June 30 Professor Doe met with the
Administrative Reviewer several times to review her notes: (i) which he was
made to do in her presence and with her watching; (ii) which he was not
allowed to make copies of or have emailed to him for more reflective, sober
review; and (iii) which review was rushed and he was encouraged to not take
so long in reviewing his accuser’s (and her witnesses’) incriminating
statements against him.

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78. That nearing the conclusion of her investigation on duly 29 the
Administrative Reviewer met again with Professor Doe a final time suggested
to him in a condescending, pressuring tone, “lt’s OK, you can tell me.”

79. That this duly 29 meeting clearly evidenced that an improper evidentiary
bias had formed in the Administrative Reviewer and that she was seeking to
extract-whether truthful, voluntar , or otherwise»-a confession of guilt from
Professor Doe.

80. That Professor Doe was never given any opportunity to review the'
Administrative Reviewer’s notes from this Hnal meeting

81. That on August 5 Professor Doe’s first child was born from a difficult and
dangerous pregnancy by Professor Doe’s wife.

82. That Professor Doe’s wife was then emergently hospitalized from August 9
through August 17 for post»delivery complications, during which time
Professor Doe was at her side.

83. That despite this dramatic personal affair, Professor Doe was denied pleas he
made to Defendant Kenneth T. Andrews for a course release (courses began
August 18).

84. That on August 20 Defendant Kenneth T. Andrews sent a mysterious email
“recapping” his meeting with Professor Doe on l\/Iarch 24 nearly half a year
prior and mentioned for the first time that they had purportedly at that time
spoke regarding his too-familiar “touching” of students

85. That on August 24 the Administrative Reviewer published the EOC Report,

86. That the EOC report is a facile and unacceptable attempt at documentation
in light of its redactions which make it a feat of sheer impossibility (to dane
Roe’s favor) to critique or reevaluate the Administrative Reviewer’s
reasoning For example, in section “IV” of the EOC Investigative Report by
the Adrninistrative Reviewer an entire multipage section reads as follows in
full (“ ------ ” used to denote redaction):

lV. BACKGROUND INFORMATION

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ Accoiding to ---------, sometime
before l\/la1ch 19, 2015-~~-1earned from ~~~~~~~~~ and ~~~~~~~ that they
may have had unwanted and inappropriate interactions with

[Professor Doe]. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
--------------------------- reported that on 01 around March 18, 2015

~~~~~~~~ spoke with-~~-~~~--~~about [P1ofessor Doe s] conduct, and-~~
------- encouraged--~--to speak with--~---~--~---~~-~~-~~-~~-~--~~--~-~~~~-~

According to ~~~~~ , ~~~~~~~~~~~~ met with ~~~~~~~ on March 20, 2015.
Fo]lowing his discussion with ~~~~~~~~ , ~~~~~~~ spoke with [Professor
..24..

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Doe] about the matter on March 24, 2015 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

V. S’UMMARY OF INTERVIEWS AND ALLEGATIONS

EOC Report,~p.§~€ (August 14, 2015).

87.That the EOC report is no more helpful in understanding who was
interviewed or for how long, as the interview log astonishingly reads as
follows and only identifies Professor Doe (“ ~~~~~~ ” used to denote redaction):

 

Date of lnterview

 

5/14/15
5/15/15‘
7/02/15

 

5/26/15
7/28/15

 

6/02/15

 

6/02/15

 

Assistant
Professor,
Dep artment
of Sociology

6/09/15
6/10/15
7/29/15

 

6/19/15

 

6/24/15

 

6/26/15

 

7/01/15

 

7/01/ 15

 

7/07/ 15

 

7/07/15
7/29/15

 

7/20/15

 

7/27/15

 

7/29/15

 

8/10/15

 

8/10/15

 

8/11/15

 

n/a

 

n/a

 

n/a

 

 

 

 

nja

 

 

soc Repm~¢, `p.2.4 august 14, 2015).
88. That the only conclusion which ought be drawn from the EOC Report’s vague

documentation of interviews (with unknown persons) is that Professor Doe’s

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contact with students described above in his cramped office quarters did
make a few female students "uncomfortable” and “awkward” but also that
the very moment it was first brought to his attention by his l\/larch 24, 2015
meeting with Defendant Kenneth T. Andrews that all such “cramped office”

issues abated immediately

89. That having cramped office quarters (at the advice of a senior colleagu.e)
which made a few students feel awkward and which was corrected
immediately upon first notice is categorically distinguishable from the
grievous allegation of sexual harassment of placing one’s hand on another’s
inner thigh multiple (but no specific) time(s) on some (but no specific) date(s).

90. That having cramped office quarters (at the advice of a senior colleague)
which made a few students feel awkward is not enough evidence to jump to
the extraordinary evidentiary presumption that the grievous allegation of
sexual harassment by placing one’s hand on another’s inner thigh multiple
(but no specific) time(s) on some (but no specific) date(s) should be given a
thumb~much less a fist~on the scales and taken flatly as true.

91. That nonetheless the EOC Report culminates in the following vacuous
conclusion:

[T]he Administrative Reviewer determines that the
preponderance of the evidence (i.e. more likely than not),
demonstrates that Wrofessor Doe] engaged in sexual
harassment of [Jane Roe] as defined under the Po]icy
[Professor Doe] denied ever touching [Jane Roe’s] inner thigh,
however, there is sufficient evidence to support a pattern of
behavior and propensity by Wrofessor Doe] to engage in
conduct with female students when working side~by-side with
them, particularly physical contact of various degrees, which
made them feel uncomfortable The evidence makes it more
likely than not that [Jane Roe’s] Version of the events
should be considered as true

EOC Report, p.36~3'? (emphasis addd).

92. The above excerpt shows improper, inadequate, insufficient circular, and
tautological adjudicative reasoning by the Administrative Reviewer that a
reasonable, well~trained, and unbiased trier of fact in similar situations
would not have so concluded, to wit, as to the inner thigh touching (which is
the blood in the water of Jane Roe’s allegations) the Administrative Reviewer
essentially reasoned as follows:

i. Jane Roe (and no one else) accused Professor Doe of touching her
inner thigh ten (10) times over a half year time period (no specific time
or date given);

ii. Professor Doe denied ever touching her inner thigh;.

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iii. A few students found Professor Doe’s office quarters cramped; thus

iv. Professor Doe must have touched Jane Roe’s inner thigh less than ten
(10) times, but at least once, on some (but no specific) date spanning
half a year.

' 93. The EOC Report also concluded that Jane Roe’s conduct towards Professor
Doe on May 8 (which she admitted to doing) did not constitute stallring or
harassment '

94. That on August 27 Professor Doe received a letter of reprimand from Dean
Hartlyn as required by the EOC Investigator’s recommendations which
disturbingly used the precise language»-verbatim, copied~from Defendant
Kenneth T. Andrew’s private email to Professor Doe one (1) week prior
regarding the hind-sight addition to the l\/[arch 24, 2015 meeting between
Defendant Kenneth T. Andrews and l?rofessor Doe that they had purportedly
at that time discussed his office furniture arrangements and also physical
touching of students, as follower

From Defendant Kenneth T. Andrews “recan” August 20 email;
“Specifically, l encourage you to maintain a professional
distance between you and students when you meet with them
(e.g., sitting on opposite sides of the desh), to have no physical
contact beyond what is appropriate in a professional
environment and to keep your door open during meetings...”
(emphasis added).

From Dean l§lartlyn’s August 27 letter of reprimand and in
reference to the l\/larch 24L 2015 meeting: "At that time Prof.
Andrews informed you of the need to maintain a professional
distance between you and students when you meet with them
(e.g., sitting on opposite sides of the desk), to have no physical
contact beyond what ts appropriate in a professional
environment and to keep your door open during meetings...”
(emphasis added).

95. That Dean Hartlyn’s verbatim copying of Defendant Kenneth T. Andrevv’s
prior email to Professor Doe suggests a department and parent College acting
in concert against ¢Professor Doe, specifically in an effort to coordinate
varying UNC ofhcials’ versions of the facts to most damage Professor Doe by
making it falsely appear that he had already been reprimanded for physical
touching of students pLio; to the EOC investigation

96v That this coordination against Professor Doe artificially bolstered nunc pro
tunc the credibility of Jane Roe’s false allegations

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97. That in early October an appeal Was filed With the Student Grievance
Committee (SGC) by Jane Roe (upset Professor Doe Was not fired or more
strictly discipline d).

98. That on October 12 Professor Doe conducted his EOC training as required by
the EOC Report, including a meeting With UNC’s Senior EOC Compliance
Consultant, Camille Brooks, for mandated one»on~one training At this
meeting Professor Doe offered a proposed hypothetical of the conduct Jane
Roe committed against him on May 8 and asked Ms. Brooks if that Would
constitute harassment under the policy, to Which she responded gregariously:
“Oh that definitely sounds like harassmentl”

99. That on October 29 Professor Doe met in his office With one of Jane Roe’s key
Witnesses, referred to herein as “Jane’s Friend” to respect her anonymity.
Furthermore that if Jane’s Friend’s true identity is able to be inferred it is
only because of overt and intentional acts Jane’s Friend has taken above and
beyond mere participation in being interviewed by the Administrative
Reviewer and testifying at the SGC proceedings (said “above and beyond”
actions are described more fully below).

100. That Jane’s Friend Was a highly cap able graduate student and mentee
of Professor Doe, having excelled in his courses and subsequently sought him
out at length desiring to Work under his renoWned tutelage.

101. That in the course of the initial EOC lnvestigation Professor Doe had
listed Jane’s Friend as one of his own Witnesses.

102. That at the October 29 office meeting Professor Doe spoke frankly
With Jane’s Friend and at length about his side of the case, his viewpoints,
theories, etc. before Jane’s Friend finally revealed to him, to his shock, that
she had actually been one of the unidentifiable (due to the overly redacted
EOC`Report) Witnesses Who had ultimately testified largely in Jane Roe’s
favor.

103. That Professor Doe Would not have shared such information With
Jane’s Friend had he been able to discern her identity from the overly
redacted EOC Report, and that this highlights how such redactions biased
the SGC appeal process (his ability to prepare) in Jane Roe’s favor.

104, That at the October 29 meeting, after unveiling Which side she Was on
(Jane Roe’s) Jane’s Friend broke down crying and confessed the following to

Professor Doe (her former instructor and current supervisor):

i. That she had been the victim of severe sexual harassment and sexual
assault multiple times in the past;

ii. That her past has left her With a “natural suspicion and distrust and
distrust of men;”

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iv.

Viii.

xi.

105.

That she did not think Professor Doe’s interactions with her were
inappropriate at the time they occurred;

That her bias about taking “gender issues” “seriously” was so strong
that she would not hesitate to “start a war” over it;

That she never questioned her interactions with Professor Doe until
after dane Roe approached her in the summer of 2015;

That being brought into the EOC investigation caused her former Post
’l‘raumatic Stress Disorder (“PTSD”) to resurface for which she
required therapy to treat while the EOC investigation was ongoing;

 

That her PTSD was so bad in the summer of 2015 that she told the
Administr ative Reviewer she would likely be an unreliable witness;

That her feelings that particular summer, her past PTSD, her
commitment to show solidarity with Jane Roe, and self~described role
as the departments champion on “gender issues” affected her
testimony regarding: (i) exaggerating the context and frequency of the
limited physical contact of her shoulder by Professor Doe; and (ii) let
her anger towards men and her sympathy towards a fellow woman
peer affect how she described, in hindsight, her own perception of how
she truly had perceived Professor Doe’s physical contact;

That she said to Professor Doe: “l told the [Administrative Reviewer}
she shouldn’t be talking to me. l had just had a brealidown, and
would probably have interpreted any contact l had with any man,
including you, in a negative light, even if it wasn’t;”

That she was angry all of her past abusers had gotten away with it
and never apologized for the harm they caused her and was thus,
“tired of them [men] getting away with it;”

That hours after initially telling the Administrative Reviewer that she
had initially felt comforted and supported by Professor Doe, she “read
about sexual harassment On the internet” and then emailed the
Administrative Reviewer to reframe/re~clarify her memory of her
interactions with Professor Doe as definitely not comforting or
supportive, but instead as sexual harassment

That Professor Doe»»Jane’s Friend’s mentor, confidante, and current

supervisor~told her he was terribly sorry for what had befallen her in life
and that he would be honored to be the first male in her life to apologize for
any discomfort she (retroactively decided she) felt.

106.

That Jane’s Friend would later characterize this statement by

Professor Doe as an admission of guilt rather than an expression of

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eympathy, but in the interim left his office visibly distraught from her
confession

107. Again: A key witness of the accuser announced herself as
unreliable and emotionally compromised to the Administrative
Reviewer, a fact egregiously omitted in the EOC Report.

108. That on Noveinber 2 the Grade Appeal Committee findings were
summarized in a memorandum penned by Dean Hartlyn, stating in
controlling part:

['l‘]he Grade Appeal Committee found n_o evidence that the
instructor deviated from grading requirements and
descriptions provided on the syllabus, and concluded that the
grades for the two assignments submitted were fair based on
the Grade Appeal Committee’s own assessment of the
assignments However, in its October 2015 findings, the Grade
Appeal Committee wrote that it could not objectively determine
the extent to which the cited [sexual] harassment (as
determined by the EOC) made it difficult to perform at a
passing level in the course. As a result, the Grade Appeal
Committee recommended that [Jane Roe] be provided with an
opportunity to take another version of this course, in order to
learn the course material so long as it is not taught by the
instructor involved in [the EOC investigation, i.e., Professor
Doe].

109. That an affidavit is available upon request penned by a member of the
Grade Appeal Coimnittee which sharply elucidates the manner in which the
Grade Appeal Committee was infected by EOC pressures, as well as the
honesty with which Professor Doe herein is required to state that Jane Roe
was simply a substandard student

110. That on November 13 Jane’s Friend made good on her statement to
“start a war” to take “gender issues” “seriously” by initiating one of her first
objective defamatory acts in holding a “town hall” meeting between herself
Defendant Andrews, and multiple members of the EOC, including then-
‘director Jayne Grandes.. Furthermore, that the purpose of this meeting was
to openly discuss the “problem” of Professor Doe remaining on campus and
exposed to students '

111. That present at this meeting were multiple individuals not privileged
under UNC policy as “need to know” persons yet to whom Jane’s Friend
intentionally disclosed confidential and defamatorily misleading information

112. That an EOC administrator present at the “town hall” (Jayne
Grandes) would subsequently deny-falsely-her presence at this meeting
when prompted by Professor Doe.

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113. That this “town hall” meeting was only the first of what would be
multiple meetings arranged by Jane’s Friend with other administrators
graduate students at large, and graduate student leadership at UNC which
were improperly used to defame, destroy, sabotage, and tortuously interfere
With the employment contract of her former mentor, Professor Doe. '

` 114. That, in the wake of the EOC Report and “the war” at UNC being
Waged by Jane’s Friend, on November 17 Defendant Andrews summoned
Professor Doe for a meeting where, among other things, he stated to
Professor Doe in regards to the sexual harassment charges and UNC’s hands-
tied response that:

i. “[Professor Doe], it isn’t about what you did or didn’t do at this point
lt’s about perception and what these students are willing to do, not
just to you but to the dep artment, even me.”;

ii. That Jane’s Friend and dane Roe might go to The News and Observer
if this is not resolved as they wish; and

iii. That Jane’s Friend and Jane Roe had,threatened Defendant Kenneth
T. Andrews if he did not “do something” about Professor Doe.

115. That on November 20 Professor Doe met with UNC’s ombudsmen,
Wayne Blair, who expressed grave concern at the circumstances and advised
Professor Doe against trusting Defendant Kenneth T. Andrews or Dean
Hartlyn, based on their actions in the case to date.

116. That Wayne Blair strongly recommended Professor Doe submit to a
polygraph (lie detector) test.

117. That a member of the Chapel Hill Police Department also
recommended Professor Doe submit to a polygraph (lie detector) test.

118. ’l`hat at g1eat expense and on the advice of Wayne Blair and the
Chapel Hill Police Department on December 1 Professor Doe submitted to a
polygr aph examination

119. That although polygraph questions and results are inadmissible under
the North Carolina Rules of Evidence:

i. The Rules of Evidence do not apply in Title lX he arings; and

ii That the following is admissible even in real courts: (a) the mere fact
that a person submitted to a polygraph, (b) the mere fact that such
person requested to have their results admitted into evidence, even

before seeing the results, and (c) what the polygraph tester opined

120. rl‘hat over emails between November 30 and December 1 Professor Doe
requested of the SGO Chair, Robert Joyce, that his upcoming polygraph

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results be admitted into evidence, but that Chairman Joyce flatly refused to
allow any polygraph evidence whatsoever

121. That on December 9 the first SGC hearing was conducted as follows:
i. That Jane Roe only had two (2) of her ten (10) listed witnesses appear

ii. That Professor Doe had over twentv~four (24) witnesses
appear in his favor, SO much so that an overflow room Was
needed.

iii That Professor Doe was only allowed time for four (ll) of his witnesses
to testify.

iv. That some of these witnesses were ones that the Administrative
Reviewer had impermissibly failed to contact when drafting the EOC
Report.

v. That Professor Doe’s witnesses were: three students who had worked
extensively with him in his of§ce up to hundreds of hours in the
aggregate (two female, one male) and one (female) tenured faculty
member

vi. That Professor Doe’s witnesses variously testified: (i) that the
Administrative Reviewer who compiled the EOC Report failed to
adequately establish contact with some of them and as such their
testimony was not considered in the initial EOC Report; and (ii) that
they had experienced the same incidental “bumping" contact described
by some of the witnesses yet always felt it completely appropriate
friendly, and non~sexual (even when alone with Professor Doe).

vii That the tenured faculty witness was Professor Harris (introduced in
this Complaint above) who testified as to: (i) her meeting on or about
May 15, 2015 with Professor Guo wherein the physical contact
described and der)ionstrated twice to her by Professor Guo recounting
what Jane Roe had told him was nothing more than an outer knee
bump in an encouraging fashion; and (i`i) Jane ltoe’s incredibly poor
academic standing and character credibility within the department

122. That on December 17 the second SGC hearing was conducted as
follows:

i. That Jane Roe’s lawyer called Professor Guo as a rebuttal witness who
testified: (a) that Jane'Roe was his “dream student” who he was elated
to have secured the recruitment of to UNC; (b) thatw~];nowing fully
Jane Roe’s profoundly checkered academic past-she was “a good
student”; and (c) that he “did not recall” Professor Harris’ version of
the May 15 lunch, and that instead he recalled having told and
demonstrated to Professor Harris an inner thigh touching.

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123. That Professor Guo’s testimony at the second SGC hearing is the one
(l) and only corroboration of Jane Roe’s inner thigh touching allegation in all
of the UNC records

124. That although the EOC Report is generally impossible for the non-
clairvoyant to deciplier, the SGC (who had in their possession an uzi-redacted
copy of the EOC Report) answered the following question as follows:

i. Professor Doe: “Was Professor Guo the individual referred to in
footnote number 32 of the BOC Report] ?”

ii SGC Panel: {Confers with UNC General Counsel] “Yes.”

125. That footnote 32 of the redacted EOC Report reads in its~aredacted-~
entirety as follows (describing the then~unnamed interviewee): “32 At times, --
---»- Was generally unclear on the sequences of events and the exchange of
information and often did not speak confidently -----------------------------------------

126. That considered together the problem is that Professor Guo was noted
(in an EOC Report that noted very little) as being unreliable, yet his
testimony was the sole corroborating testimony (and hearsay testimony at
that).»

127. That given: (i) dane Roe alleged the inner thigh touching, (ii) Professor
Doe denied the inner thigh touching, (iii) Professor Guo (who did not testify
or interview With credibility) supported Jane Roe’s testimony, and (iv)
Professor Harris supported Professor Doe’s testimony-a preponderance of
the evidence could not possibly have been in Jane Roe’s favor.

128. That Jane Roe herself testified that she did not characterize her
interactions with Professor Doe as sexual Harassment initially, but only later
gradually came to interpret them as such.

129. ln addition to having zero corroborating witnesses with even remotely

similar “inner thigh” touching, the preceding allegation that the burden of

' proof was not met is made even more plausible in light of the many other
pieces of objective evidence which were before12 the SGC, to wit:

i. Jane Roe’s motive for lying: failing out of the graduate program and
likely being deported;

ii. Jane Roe’s credibility and propensity for truth telling: academic
dishonesty in the form of self~plagiarism by turning in the same paper

 

12 Obviously not before the SGC were Jane Roe’s future acts at UNC: Jane Roe has recently been
caught plagiarizing_again-on her comprehensive graduate exams taken in 2017.

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in multiple classes at UNC, omissions and misstatements in her
Grade Appeal, and the ever shifting “number” of times which the
inner thigh touching purportedly occurred (something the EOC Report
also noted);

iii. The glaringly suspicious timing of Jane Roe not filing her claim until
seven (7) weeks after the harassment was alleged to have stopped-w
mid-l\£[arch, since after the late-l\/iarch meeting With Defendant
Kenneth T. Andrews it had become common knowledge that Professor
Doe had rearranged his office and now klept the door wide open When
he had learned that even just a few had “felt awkward” about the
furniture-but only one (1) business day after she received her fatal
“L” graded3

iv. A complete lack of any objective evidence against Professor Doe’s
credibility of propensity for truth telling.

130. i That at both SGC hearing dates UNCMthe same “UNC” being
federally investigated for not prosecuting Title lX cases strongly enough-
General Counsel was present and conferred with the SGC in private and With
great frequency

131. That Professor Doe’s counsel has requested and been denied
the audio recordings from UNC General Counsel of the SGC hearings
under a claimed privacy defense of the audio recordings amounting
to an “education record” under FERPA.

132. That UNC General Counsel has promised to deliver a redacted
transcript of the SGC hearings but at the time of compiling this Complaint
Professor Doe’s counsel is without said promised transcript

133. That on January 12, 2016 the SGC released its l\lotice of Hearing
Outcome (the “SGC opinion”) affirming and restating the EOC lnvestigate
Report’s central finding that sexual harassment had affirmatively occurred

134. That the SGC opinion made the following stunningly inadequate and
constitutionally insufficient finding of fact/conclusion:

Specifically, the Hearing Panel concluded that the Respondent
engaged in unwelcome physical conduct based on sex that
created a hostile, intimidating, or abusive environment for the
Grievant. The l-learing Panel determined that the Respondent
placed his hand on the Grievant’s thigh while they were alone
in his office on more than one occasion. Although the Hearing

 

13 l.e., the real reason Jane Roe alleged the sexual harassment was solely to bolster her Grade Appeal,
but it would have simply been too implausible to allege that harassment occurred in Professor Doe's
office after the late-March meeting (0f which she knew) and after Which it was common knowledge that
Professor Doe’s door was thereafter constantly open.

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Panel did not conclude that a preponderance of the evidence
showed that such conduct occurred with the frequency and
duration alleged bv the Grievant, the Hearing Panel found that
the conduct was sufficienth severe and pervasive that it
altered the conditions of the Grievant’s education, thereby
creating an environment that a reasonable person in similar
circumstances and with similar identities would find hostile,
intimidating or abusive

135. That the above excerpt from the SGC opinion clearly makes no
finding that the evidence was sufficient to prove any single actual
date or time of day of an offense, but rather that “such conduct occurred”
(in reference to Jane Roe’s allegations) at some time (not a specific number of
times) between “the fall” of 2014 and l\/larch 19, 2015.

 

136. That the SGC opinion recited no specific date or time of sexual assault
because no evidence of any single actual date was ever presented to the SGC
or requested by the SGC. Furthermore, that no evidence of an actual date or
time was offered into evidence because the alleged sexual assault never
occurred

137. That the only rational item which may be deduced from the SGC
finding/conclusion is that the SGC clearly found Jane Roe’s allegation as to
the number of occurrences unbelievable

138. That the awesome and controlling inadequacy of this issue requires its
emphasized restatement Professor Doe had his tenure-track career,
professional reputation, and personal reputation obliterated by the
SGC’s rubber stemming the EOC Report’s conclusion based on an
allegation of sexual harassment:

i. Where No date or time of offense was ev'er alleged;
ii VVhere No date or time of offense Was ever proven;
iii. Where No date or time of offense was ever inquired of; thus

iv. Where No date or time of offense was (or even could have
been) made a finding o_f fact by the convicting tribunal; thus

v. Where The only testimony about ~“inner thigh” touching
against Professor Doe came from (1) his accuser Who stood to
gain enormously from succeeding, and (2) her mentor’S
hearsay Which was noted as unreliable and was contradicted
by other credible testimony of Professor Harris.

139. As outraged as Professor Doe was by the SGC opinion, he at this point
began to believe what he had been told by UNC through its multiple agents,
employees, and administrators

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i. 'l‘hat it was clearly not in his best interest to appeal an EOC finding of
sexual assault

ii. That the likelihood of getting a fair trial clearly was lessened at each
level.

iii That appealing clearly would only risk his career further

iv. That “at least the reprimand did not include” suspension or
termination only increased EOC training

140, That the following reasons show (bevond mere prediction or
anticipation) that exhausting further administrative remedies would have
been futile and inadequate and as such Professor Doe resigned to not appeal
further and to do his best to simply live with the SGC ruling and attempt to
begin rebuilding his reputation and career prospects at UNC, the place he
“loved and believed in,” to witt

i. His reliance on UNC’s written representations that it would only exact
on Professor Doe the reprimand Which the SGC opinion had
prescribed (increased EOC trainings)

ii. The mounting antagonistic pressures from his supervisor and
department head;

iii. The intensitying campus atmosphere of “war” on “gender issues” that
was, in part, directly aimed at him personally;

iv. The chilling pressure to not appeal in a futile and inadequate system,'

' v. The ongoing investigation of UNC’s EOC office for ’l‘itle lX compliance
by the Department of Education Office for Civil Rights as announced
in their May 1, 2014 press release14; and 1

vi. The increasingly zealous prosecution of Title IX claims in 2015, as
would be later noted in a 2016 article reporting on the 2014 to 2015
year’s success at having increased “formal investigations” by fifty-two
percent (52%) from the 2013 to 2014 year, as a direct result of
“expansive efforts” to, among other things, maintain and increase
“students’ Willingness to report in the future.”15

Part ll

 

 

14htt s://www.ed. ‘0v/news/ ress-releases/us~de artment~education-releases~list-hi her-education-

institutions-open-title-i (accessed July 6, 2018 at 3:26 PM).
15 https://ontherecord.unc.edu/2016/10/title-iX-records~request~carolina~responds/ (accessed July 6, 2018

at 3;31 rM).

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(Facts from January 12, 2016 to the Present)
141. ' That in excess of the SGC reprimands:

i. By l\/Iarch of 2016 Professorv Doe had been stripped of all graduate
courses he was teaching, with direct or indirect reference to “pressure”
from dane Roe and Jane’s Friend and UNC campus “perception.”

ii By the fall of 2016 Professor Doe had been removed from
comprehensive exam committee worl<, with direct or indirect reference
to “pressure” from Jane Roe and Jane’s Friend and UNC campus
“perception.”

iii. By the spring of 2017 Professor Doe received word that he was “not
allowed” to meet with prospective graduate students, with direct
reference to “pressure” from Jane Roe and Jane’s Friend and UNC
campus “perception.”

142. That ever since the January 12, 2016 SGC opinion, Jane’s Friend and
Jane Roe each actively discussed the EOC investigation and resulting SGC
opinion with: (1) current UNC students, (2) prospective UNC students, (3)
UNC staff, (4) UNC faculty, and (5) UNC General Counsel. Furthermore
that this allegation is substantiated by UNC faculty members who are ready
and willing to testify on Professor Doe’s behalf that the foregoing listed
populations (except UNC general counsel) have all reported being part of
such discussions initiated by dane Roe and Jane’S Friend in the timeframe
alleged

143. That one such conversation between Jane Roe and a UNC faculty
member occurred in February of 2016 wherein Jane Roe confronted said
faculty member, saying, “Are you aware that you have a known sexual
harasser in [tbis place]?” Furthei'rnore that Jane Roe in this meeting
expressly requested Professor Doe be expelled from a particular UNC
institution and lose research funding as a result

144. That when a tenured UNC faculty member attempted to stand up in
solidarity with Professor Doe that their efforts were unconstitutionally
subverted, discouraged, and curtailed in violation of their rights to exercise
free speech under the First Amendment; specifically:

i. That when Professor Doe was removed from a particular
comprehensive exam at the direct pressuring and request of Jane’s
Friend that another tenured faculty member on the exam panel
requested to step down with him.

ii. That this tenured faculty member was not allowed to step down by
Defendant Kenneth T. Andrews in an email that stated: “...l spoke

with the EOC director and Jonathan Hartlyn about this and have
spent a great deal of time thinking about it further l believe .

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changing the committee at this point is a bad idea and has the
potential to create more problem [sic] than it solves. lt would draw
more faculty into the situation in a way that would be polarizing, and
it could easily be misinterpreted by students Changing at this point
would be difficult .in part, because EOC and l have already
communicated the plan to the student after we discussed it several
weeks ago ...”

145. That the preceding allegation shows precisely the sort of “pressure”
and “perception” issues that UNC clearly elevated on a pedestal above the
Truth, and that in this case they would not even let a tenured faculty
member publicly show their support and compassion in opposition to the
farcical charade which was continuing to devastate Professor Doe far beyond
the E_OC/SGC reprimand

146. That removing Professor Doe from the exam committee only
metastasized matters and placated students in the name of “pressure” and
“perception,” as in fact: (i) exam grading is done anonymously, and (ii) the
EOC Report and SGC had expressly found that Professor Doe had not
engaged in grade retaliation against the complaining student, and an
independent Grade Appeal Committee determined that Professor Doe’s
standards were more than fair.

147. That UNC general counsel has volunteered to Professor~ Doe’s
attorneys that “UNC is really under a lot of pressure from these graduate
students.”

148. That other graduate students who support Professor Doe have
recently confided concerns to departmental faculty that Jane Roe and Jane’s
Friend continue to wrongly defame Professor Doe.

149. That further acts of Jane Roe and Jane’s Frieiid’s defamation and
breach of confidentiality include, but are not limited to:

i. ln August of 2016 saying at a department lunch and in public that the
department was “housing” a known sexual harasser, going on to name
Professor Doe and suggest that he be “avoided” and suggesting'that
others “spread the word” about Professor Doe;

ii. ln the late fall of 2016 that a few students Who had been successfully
swayed by dane Roe and Jane’s Friend slander of Professor Doe did
approach their advisors “demanding answers” as to why Professor Doe
was “still” employed Furthermore that these advisors requested
meetings with Defendant Kenneth T. Andr'ews to resolve their alarm
at the students’ aggressive poise and asking how they could
functionally support Professor Doe whose innocence they maintained
and yet were told there was “little they could do” and that “it would be
best...not to say too muc ” about the case.

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iii. That March, 2017 recruitment efforts involved a dinner with
prospective students at which Jane’s Friend was in attendance and
publicly announced to the prospective students that the department
“has a sexual harasser” and identified Professor Doe by name and
referred to the issue as a “huge problem.”

iv. That in the later spring of 2017 during a graduate school function the
topic of race came up to which Jane’s Friend publicly quipped, “race
[was] not the only problem at the department as there [was] clearly a
problem with any department that would continue to employ a known
sexual harasser.” Furthermore that this statement was made in the
direct presence and attention of Defendant Kenneth ’l‘. Andrews who
did nothing to correct, curtail, or abate the defamatory commentary

v. That in the fall of 2017 a graduate student confided that Jane’s Friend
had “told everyone” in the spring “about Professor Doe.”

vi. That in December, 2017 Jane’s Friend’s efforts were so successful that
an unrelated graduate student who will remain unnamed circulated a
department Wide survey about sexual harassment in the departinent,
which email began with the acclamation, “l know that sexual
harassment has been an issue in this departrnent...” when such
information should have been confidential

150. That the conduct of Jane’s Friend and dane Roe was both:

i. Publicaticn of confidential information in breach of UNC’s Policy on
Prohibited Discrimination, Harassment and Related Misconduct
lncluding Sexual and Gender~Based Harassment, Sexual Violence,
lnterpersonal Violence and Stallring policy guarantees that
information “related to a report will only be shared with those
University employees who ‘need to know’ in order to assist in the
active review, investigation, cr resolution cf the report. While not
bound by confidentiality, these individuals will be discreet and respect
the privacy of all individuals involved in the process;” and

ii. Publication of untrue information harmful to individuals other than
Professor Doe and without his permission that he had committed
sexual harassment when they both knew cr should have known such
statements were 'false, insofar as (i) dane Roe knows she fabricated
her claims against Professor Doe, and (ii) Jane’s Friend herself
reported to the Administrative Reviewer that she was unreliable given
her past abuse, and until improperly influenced by Jane Roe’s false
accusations had held Professor Doe in high esteem as evidenced by
seeking continuing work with him.

151. That the conduct of Jane’s Friend and Jane Roe was a voluntary
waiver of any confidentiality rights which may have existed under FERPA
and that if they raise such a defense they should be equitably estopped

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152. That Jane’s Friend and Jane Roe each:

i. Knew of the valid contract for employment existing between Professor
Doe and UNC

ii. lntentionally took steps to actively induce persuade and pressure
UNC to not perform the contract for Professor Doe’s employment

iii. Acted without justification, insofar as Jane Roe knew (a) she had
fabricated the underlying claims against Professor Doe, (b) Jane’s
Friend has admitted she was an unreliable witness given her past
abuse, and (c) Jane’s Friend had held Professor Doe in high esteem
until Jane Roe solicited Jane’s Friend to join the ’l‘itle lX action
against him.

153. That Professor Doe suffered actual damage as a result of Jane’s
Friend and Jane Roe’s conduct (above described) in the form of being
constructively discharged by having his work environment made intolerable
given his loss of all graduate teaching privileges, committee work, and access
to collaborate with incoming students as a direct and proximate result of
Jane’s Friend and Jane Roe’s eft`orts.

154. That at all relevant and material times to this action Jane Roe and
Jane’s Friend have each been agents and/or employees of UNC as teaching
assistants, research assistants, graduate student instructors, or otherwise

155. That at all relevant and material times UNC through its agents,
employees, and/or administrators knew of the activities of Jane Roe and
Jane’s Friend and either encouraged them, ratified them, or else failed to
take steps to affirmatively curtail them despite knowing (or being unrelieved
from the responsibility of knowing) that their activities were far in excess of
the reprimands issued by the SGC and were being conducted in a manner
that violated UNC’s purported promise to Title lX participants of
confidentiality

156. That if Defendants feel Jane Roe and Jane’s Friend are additional real
parties in interest then they (Defendants) are free to move this Court to join
or implead the two graduate students under Article 4 of the North Carolina
Rules of Civil Procedure.

157. That on June 25 the Office for Civil Rig‘hts of the Departrnent
of Education released their Letter of Findingsl6 regarding the high
profile federal lawsuit pending against UNC since 2013 alleging that
UNC was not seriously prosecuting Title IX claims, and that Said
letter found, inter alia, as follows:

 

16 Avai_lable at: littps://www.nnc.edu/wp‘content/uticacls/20lB/OG/FlNAL-R~LOF-UNC-'Chapel»Hill~
11132051~PDF.pdf (accessed on duly 10, 2018 at 1:28 PM).

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iii.

iv.

vii.

viii.

158.

That the policy and procedures fail to specific whether notice will be
provided to either party regarding any further review or appeal to the
Board of Trustees or the Board of Governors;

That the policy and procedures do not explain or differentiate between
the grievance processes,'

That the policy and procedures lack specificity regarding the provision
that the EOC will initiate a review if informal attempts at resolution
have been unsuccessful,'

That the policy and procedures fail to address what the informal
process entails or whether the informal process is required prior to
moving forward with an investigative process;

That the policy and procedures do not specify that written notice of
the outcome will be provided to both parties;

That the policy and procedures only provide an opportunity to appeal
for one party, which is not equitable ;

That some University Staff members were not adequately trained to
implement its own procedures;

' That the University’s own records from that time period suggest

improper action, or inaction, by University staff at different levels of
the complaint process; and

That the University’s inadequate recordkeeping made it difficult to
determine the extent of any noncompliance during the period of
review.

That this negative publicity against UN_C only further shows what

immense and constant pressures they were under since 2013 as well as
continue to be under, as this case has received public, published news
attention in no fewer than the following twenty~three (23) news corporations
(often in a negative, pro~victim, ‘more needs to be done’ manner): USA Today,
The News & Obserucr, ABC News, The Wall Strect Jom~na.l, ESPN, CBS, The
Da.ily Ta.rheel, Insider Higher Ed, Campu,s Sa.fety Mago'.zine, WUNC, WRAL,
Spectrum News, Reo'.son, Fou,ndcztion,, WNCI§ The Kn,oxuille Neu)s Sen,tinel,
Tmthout, The Trio'.d Business Jom‘n,o'.l, WTVD-TV, The Denuer Post, The
Durham Hemld Su,n, Rz`chm,ond County Daily Jouz'nal, The College Fix, and
The Hem.ld Su,n.

159.

That it is in response exactly these sorts of pressures the above~oited

four-member, female, feminist Harvard law professor cohort penned the
admonishing and accurate description that, “Terrified, administrators not
only complie d; they over~complied”

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160. That on June 26, 2018 Carol Folt, in her capacity as Chancellor of
UNC stated in her concluding remarks (regarding the closing of the
Department of Education’s OfEice of Civil Rights’ investigation of UNC’s EOC
office): “N othing is more important to us than creating a culture at
Carolina Where every member of our campus community feels safe,
supported and respected. While this concludes the OCR
investigation, it does not conclude our commitment.”17

161. That, ironically, just four (4) days later, on June 30, 2018 having been
stripped of all work but undergraduate courses taught usually by non-tenure
track instructors and even some graduate students, Professor Doe had no
rational choice but to submit a letter of resignation in acknowledgment that
his employment had already effectively been terminated, which included the

following explanation:

lt has been a difficult year as you [Defendant Andrews] are
aware, and though_l have always wanted to earn tenure in
Sociology, the current climate and fallout from these
administrative procedures [EOC/SGC] have severely
compromised my ability to function, much less thrive, in the
department

162. That contrary to Chancellor Folt’s gilded promise, UNC ultimately
neither supported nor respected Professor Doe, a once proud and committed
community member who had always believed in UNC’s “cominitment” to

“every”-niember of its community
ANONYMITY OF PLAINTIFF

163. That all preceding paragraphs are speciijcally incorporated by
reference and are specifically re»alleged as though laid out in full herein.

164. Plaintifi" s need for anonymity is sufiiciently critical and deserved as a
matter of equity and law because this case involves:

i. Matters of a sensitive and highly personal and private nature (the
inaccurate and misleading defamatory allegations of sexual
harassment).

ii, Matters including gender~b ased discrimination claims

 

ro ‘am/ (accessed July 6,

 

17 htt s://www.unc.edu/ oste/ZOlS/OG/ZG/cam us-email-on-carolinas»title~ix~
3;37 PM).

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iii. The risk of retaliatory harm to Plaintiff including but not limited to
further and increased defamation, retaliation, and continued
tortious interference with (futurc employment) contract by
Defendants, their agents, employees, and administrators

iv. The risk of harm to non"paities, namely lane Roe and lane’s
Friend who would be much more easily identified if Professor
Doe’s identity is revealed

v. That the action is against government parties

vi. A low risk of unfairness to the opposing party in allowing this
action to proceed with Plaintiff’s anonymity intact, especially since
Plaintiff’ s exact identify is known to Defendants.

See, e.g., James v. chcobson, 6 F.3d 233, 238~239 (4th Cii‘. 1993); ace
also, layne S. Ressler, Privacy, Plainti]j€ and Pseudonyms, 53 U. Kan. L.
Rev. 195, 219 (2004-2()05) (“'l`hus, as the Fourth Circuit so succinctly
explained fin Jacobson], the public loses nothing when a plaintiff is
allowed to proceed pseudonymously but all the other facts and
circumstances of the case remain in view. As a result, public confidence
in the judicial system need not suffer by the use of plaintiff
pseudonymity.”).

FIRST CLAIM FOR RELIEF
(Title IX Violation for Gender Discriniination)

165. That all preceding paragraphs are specifically incorporated by
reference and are specifically re-alleged as though laid out in full herein

166. That UNC receives federal funding, including in the form of federal
student loans given to students.' 4

16'7. Because it receives federal funding, UNC is subject to the
requirements of Title lX. `

168, Title lX prohibits gender discrimination in the education and
education workplace settings

169. That as an employee of UNC Professor Doe was entitled to Title lX
protections of being kept free from gender discrimination

170. That Jane Roe had no'witnesses who independently corroborated her
“inner thig ” allegations

171. That Jane Roe had very few witnesses to give cognizable credibility to
her other claims ‘

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172. That Jane Roe’s most credible Witness (due to the Administrative
Reviewer’s flawed EOC Report which did not in any way mention any of the
litany of credibility limitations) appeared to be Jane’s Friend.

173. That Jane’s Friend subsequent statements in her confession Professor
Doe (articulated at length above) clearly show an overt, unmistakable bias
against men whom she harbors a “natural suspicion and distrust” of in sexual
harassment charges which she disclosed to the Administrative Reviewer to no
avail. ‘

174. That Jane’s Frisnd’s bias cannot be ice-characterized as “pro-
victim” because (i) it is obviously and invidiously an impermissible gender
bias which far exceeded mere “pro*victim” sentiments in being focused on her
“natural suspicion and distrust of men," and because (ii) her gender bias
against men is “overwhelmed” by ng obvious alternative explanation See
e.g., Doe U. Univ. of Co., 255 F.Supp.Sd 1064, 1074-79 (D. Colo. 2017)
(discussing the same and citing, in part, Ashcroft v. Iqba.l, 556 U.S. 662, 628
129 S.Ct. 1937, 173 L.Ed.Zd 868 (2009)).

l'75. That Jane’s Friend’s testimony-~incorporated anonymously and
without proper explanation of her biases in the EOC Report_
unconstitutionally subjected Professor Doe to extreme gender bias for being a
male accused of sexual harassment

17 6. That Jane’s Friend’s testimony~incorporated anonymously and
without proper explanation of her biases at the SGC hearings and Notice of
Hearing Outcome_unconstitutionally subjected Professor Doe to extreme
gender bias for being a male accused of sexual harassment

177. That but for Jane’s Friend’s testimony at both levels of his “trial" at
UNC, dane Roe’s allegations would have likely not appeared as credible.

178. That the foregoing shows indirectly and inferentially that the
Administrative Reviewer was equally or similarly biased against men such as
Professor Doe accused of sexual assault as evidenced by her failure to
mention these known and disclosed limitations of Jane’s Friend’s testimony

179. That during Professor Doe’s “trial” and its two year aftermath in
which he was stripped of all responsibilities rights, and privileges as faculty
member, that UNC was under immense pressure to be biased against men
accused of sexual harassment in light of the campus-wide pressure,
statements by the UNC administration the ongoing Department of
Education investigation against UNC’s EOC office, and the national news
coverage of the same.

180. That because of the above impermissible gender biases which far
exceeded mere “pro~victim” sentinients, The Board of Governors of the

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University of North Carolina, UNC, and Cai‘ol l?olt in her official capacity as
Chancellor of UNC violated Professor Doe’s rights under Title lX.

SECOND CLAIM FOR RELIEF
(Procedural Due Prooess Violation)

181. . That all preceding paragraphs are specifically incorporated by
reference and are specifically re-alleged as though laid out in full herein.

182. That the Fourteenth Amendment to Constitution of the United States
reads, “No state shall deprive any person of life, liberty, or property
Without due process of laW.” U.S. Const. amend. XIV, § 1,

183. That the Fourteenth Amendment not providing a direct lcause of
action, its violations must be brought pursuant to 42 U.S.C. § 1983, Which
Professor Doe hereby does.

184. That Article l, Section 19 of the North Carolina State Constitution’s
Declaration of Rights reads, “No person shall be deprived of his life,
liberty, or property, but by the law of the land No person shall be denied the
equal protection of the laWs[.]” N.C. Const. art l. § 19.

185. That Professor Doe has a property interest in his continued
contractual employment and pending tenure~revievv.

186. rl‘hat Professor Doe has a liberty interest because his good name,
reputation, honor, and integrity Which are at stake because of What the
` government through its State actor has done and is doing to him.

187. That Professor Doe Was subjected to the obviously stiginatic statement
of the spurious sexual harassment allegations, EOC Report, and SGC Notice
of Hearing Outcome in 2015 and 2016, respectively, as set forth in detail
above,

188. That Professor Doe Was subjected to the State action of his
constructive discharge from January 12, 2016 to June 30, 2018'in excess of
the EOC/SGC reprimands

189. That the stigmatic statements and State action have foreclosed,
impaired, and irreparably harmed future employment opportunities for
Professor Doe.

190. That multiple federal courts have recently held that the possibility
that a disciplinary violation Will interfere With later opportunities for
employment is so clear as to almost be a truism.

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191. That the effects of the stigmatizing statements and State action have
altered and extinguished Professor Doe’s legal status in constructively
discharging him With a devastating black mark in his personnel file.

192. That the effects of the stigmatizing statements and State action Will
likely alter and preemptively extinguish Professor Doe’s current and/or
future legal status yet further siill, since his personnel file’s confidential
disciplinary actions can be released to potential employers (under N.C. Gen.
Stat. § 126~24) at the discretion of the very department head (Defendant
Kenneth T. Andrews) Who has over and again taken, participated in, or
ratified antagonistic, tortious, and unconstitutional actions against Professor
Doe and by his own acts appears to harbor more care for Praise than for
Truth, having already capitulated on numerous occasions to pressures from
UNC to facilitate making Professor Doe an outcast and to constructively
terminate his employment

193. That purported 'l‘itle lX violations levied at the innocently accused
Which “smack of deliberate fraud and in effect allege dishonesty” can give rise
to a constitutional claim, .

194. That, like other litigants recently trampled in the ‘tough on Title IX’
atmosphere, if Professor Doe seeks employment (as he had done, is doing,
and must continue to do) With institutions or organizations that require
disclosure of his disciplinary records (as many do) his only option is to forgo
opportunities With those institutions or organizations or else to authorize the
dissemination of records Wln'ch would likely foreclose Professor Doe’s ability to
pursue such opportunities because of the defamatory nature of the records

195. That in violation of Professor Doe’s state and federal constitutional
right to procedural due process The Board of Governors of the University of
North Carolina, UNC, and Carol Folt in her official capacity as Chancellor
through their agents, employees, and/or administrators: (i) acted in an
arbitrary and capricious manner, (ii) involving substantially false
information, (iii) lacking a disinterested tribunal, (iv) substantially departing
from academic norms, (v) giving only perfunctory explanations for findings of
fact and conclusions of law, and (vi) failing to give Professor Doe adequate
notice of the charges against him thus inhibiijng his ability to prepare a
meaningful defense, insofar as these Defendants, by and through their
agents, employees, and administrators to Wit:

‘i. radar through its soo erase and Admimstra+,ive Reviewer, to
attempt any informal resolution of the dispute, thereby breaching
UNG’policy;

ii. Failed to implement a system other than the single~interviewer model;

iii. Failed to allow Professor Doe to copy the Adrninistrative Reviewer’s
notes;

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iv. Failed to allow Professor Doe to even review the Administrative
Reviewer’s notes resulting from their final meeting,'

v. Failed to allow Professor lJoe to know the Witnesses’ identities in the
Ad_rninisu'ative Reviewer’s investigation,'

vi. Failed, through its Administrative Reviewer, to discover (or having
discovered, failed to disclose) Jane’s Friend’s extreme gender bias
against men accused of sexual harassment (because such information
would be easily discovered from a Witness adequately interviewed),'

vii. ll`ailedj through its Administrative Revievver, to adequately contact
several cf Professor Doe’s witnesses whose contact information was
provided to the Administrative Reviewer,~

viii. Failed, through its Administrative Reviewer, to interview Professor
Doe without palpable bias and a presumption of guilt;

ix. Failed, through its EOC office, employees, and administrators to
implement policies and procedures which provide for that hallowed
hallmark of procedural due process: a hearing;

X. Failed, through its Administrative Reviewer and SGC, to consider the
Grade Appeal Connnittee’s summer findings which reflected
negatively on Jane Roe’s credibility and propensity for truth telling
and involved substantially false information;

xi. Failed, through its Administrative Reviewer and SGC, to properly
apply the evidentiary standard to the evidence collected When
concluding in the EOC Report and SGC Notice of Hearing Outcome
that by a preponderance of the evidence Professor Doe must have (on
no specific occasion and at no specific time) placed his hand on Jane
Roe’s inner thigh some amount (but no specific amount) of times over
the course of a half year period, When the only evidence of that specific
act Was Jane Roe’s word against the Word of Professor Doe and thus
lacking the proper foundation to allow a determination w at the low
standard of preponderance oi` the evidence

Xii. Failed, through its Administrative Reviewer and SGC, to provide a
disinterested tribunal insofar as a Witness (Jane’s Friend) self~
identifying as: (i) “naturally suspicious of men” and (ii) willing “to
start a War” on “gender issues,” Was nonetheless egregiously deemed a
credible witness

Xiii. Failed, through its Administrative Reviewer and SGC, to provide a
disinterested tribunal insofar as a Witness (Professor Guo) was: (i)

denoted in the EOC Report at footnote 32 as not testifying
competently, and (ii) Was biased as Jane Roe’s mentor, going so far as

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to testify that she Was his “dream student”, yet Was nonetheless
egregiously deemed a credible Witness.

XiV. Failed, through its SGC, to provide a disinterested tribunal insofar as
a Witness (Professor Harris) Who testified competently, believably, and
Without bias or undue motivation, Was nonetheless egregiously not
deemed a credible Witness, to the extent the decision by the SGC
revealed that they did not believe her testimony that on l\/lay 15
Proi'essor Guo only demonstrated an outer knee bump, not an inner
thigh grope.

xv. Failed, through its Adminisirative ReVieWer and SGC, to give only
perfunctory explanations of the conclusion that Jane Roe’s version of
the facts-Which included no dates of offense(s), no time(S) of
offense(s), and no number of offense(s) over a half ,year
period--regarding the inner thigh touching should be taken as true
over Professor Doe’s, When the evidence Was that: (i) no one else
independently corroborated an experience of inner thigh groping; (ii)
only Professor Guow~Who testified Without credibility and With obvious
bias and undue motive-~“corroborated” Jane Roe’s inner thigh story,
and at best that said testimony Was hearsay (albeit admissible
hearsay); (iii) Jane Roe has serious credibility issues and a propensity
for falsity telling; (iv) that Professor Doe has high credibility and a
propensity for truth telling; (v) that Professor Doe denied the inner
thigh groping; (Vi) that Professor Harris has high credibility, a
propensity for truth telling, no undue motive or bias, and testified
counter to Professor Guo; furthermore that a perfunctory
explanation Was the only explanation Which could have been
given, since there Was no evidence allowing a more in depth
explanation. '

Xvi. Failed, through its EOC office, its Administrative Reviewer, and its
SGC, to ever demand, correct, or supplement the insufficient notice to
Professor Doe of the true charges against him, i.e., specific date(s),
time(s), and number(s) of occurrences at Which the purported sexual
harassment occurred, thus failing to effectuate sufficient notice to
Proi"essor Doe inhibiting if not precluding his abil_ii;r to have
meaningful notice, thus inhibiting if not precluding his ability to
prepare a meaninng defense (such as alibis).

xvii. Failed, through its SGC, to allow into evidence Professor Doe’s
polygraph results When no rule of evidence applicable to the
proceedings disallowed such evidence,'

Xviii Failed, through its SGC, to allow into evidence the existence of
Professor Doe’s polygraph exam and his Willingness to have the
results submitted at all, When no rule of evidence applicable to the
proceedings or applicable in North Carolina state courts disallowed
such evidence;

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xix. Failed, through its SGC and General Counsel, to ensure a
disinterested tribunal by condoning multiple ex parte communications
with UNC General Counsel during the proceedings When UNC is
clearly committed to providing “pro~victim” tribunals given its recent
federal investigations campus-Wide pressure, national press, and
statements from Carol Folt;

Xx. Failed, through its Department of Sociology, to even remotely
maintain academic norms insofar as Professor Doe Was punished far
in excess of the EOC/SGC reprimands Without justification including
punishments that ran counter to findings of the Grade Appeal
Committee, the EOC Renort, and the SGC that, for example, he never
committed grade retaliation or graded unfairly and Would thus be
perfectly competent to have remained on anonymous comprehensive
exam committees Furthermore that it Was- the clear intent of the
EOC/SGC reprimands to have Professor Doe (Wrongly accused as he
Was) to be rehabilitated and retained at UNC, not constructively
discharged after being overtly ostracized and stigmatized by a campus
run not by professional administrators or professors, but instead by a
small number of hostile students Who are out to “start a War" on
“gender issues” at all costs.

xxi, Failed to enable Professor Doe to adequately contemplate his appeal
rights by: (a) inadequately advising him of them by failing to include
the N.C. Gen. Stat. § 150B-45 thirty (30) day limit in the UNC policy
cited by the SGC; (b) retaliated against his first chance to further
appeal the EOC Report by removing an upcoming spring graduate
seminar he Was scheduled to teach during the pendency of the SGC
process in November of 2015, in excess of the EOC Report reprimand;
(c) chilling his further appeal prospects beyond the SGC decision by
continuing to retaliate in the form of removing more and more
teaching responsibilities in further and further excess of the EOC/SGC
reprimands; and (d) by denying Professor Doe’s counsel the audio tape
recordings of the SGC hearings and only offering to produce a
redacted transcript

196, That for these reasons and through these ineans, both Professor Doe’s
liberty interest in his personal and professional reputation and his property
interests in his continued contractual employment (soon up for tenure
review) Were each violated contrary to the guarantees of both federal and
state constitutions When he Was unjustly and defamatorily subjected to
multiple stigmatizing statements and improper State actions Which altered
his legal status and foreclosed future employment opportunities in an
adjudicative process Which lacked multiple fundamental protections of
procedural due process

THIRD CLAIM FOR RELIEF

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(Constructive Discharge & Free Speech Violation)

197. That all preceding paragraphs are specifically incorporated by
reference and are specifically re~alleged as though laid out in full herein.

198. That The Board of Governors of the University of North Carolina,
UNC, and Carol Folt in her official capacity, through their agents, employees,
and/or administrators did deliberately make Professor Doe’s Working
conditions intolerable and thereby force him to resign and not renew his
contract by punishing and reprimanding him far beyond the scope of the EOC
and SGC opinions insofar as:

i. They removed all graduate courseWork from Professor Doe;

ii. They removed Professor Doe from all committee Worl<, including
comprehensive exam committee Worl< Which involves anonymous
grading;

iii. They disallowed Professor Doe from meeting With prospective
students;

iv. They engaged in, allowed, encouraged, and ratified “tovvn hall”
meetings Where Professor Doe’s confidential information regarding the
Title IX hearings-inaccurate and substantially false as such
information Was_Was allowed to be feely discussed, exaggerated and
published to third parties Who could not possibly qualify under UNC’s
policies as “need to knovv” persons;

v. They treated him With overt and callous disregard When he requested
teaching relief in light of his Wife’s near fatal pregnancy complications
for Which she Was hospitalized for over one (1) Week; and

vi. They even Went so far as to violate other tenured professors’ First
Amendment rights to Free Speech in disallowing, discouraging, and
otherwise chilling any professors from testi®ing in Plaintiff s favor, or
otherwise objecting to this harsh treatment of Professor Doe, thereby
only making Professor Doe’s Working conditions further intolerable by
alienating him even from supportive colleagues Who Were made to fear
retaliation from UNC if they supported Professor Doe despite his
undeserving scarlet letter.

199. That because of the foregoing, as of June 30, 2018 Professor Doe had
been constructively discharged and resigned only as a matter of course

200. That Article l, Section 14 of the North Carolina State Constitution
guarantees that, “Freedom of speech and of the press are two the great

bulwarks cf liberty and therefore shall ever be restrained but every person
shall be held responsible for their abuse.”

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201. That the North Carolina Supreme Court has described the state
constitution’s free speech article as “self~executing."

202. That the First Amendment to Constitution of the United States
guarantees that, “Congress shall make no law abridging the freedom of
speech[.]” U.S. Const. amend. l.

203. That the First Amendment not providing a direct cause of action, its
Violations must be brought pursuant to 42 U.S.C. § 1983, Which Professor
Doe hereby does.

204. That (i) Professor Doe engaged in protected speech-professing his
innocence directly himself through appeals processes, email, and verbal
statements and indirectly through the testimony and shows of solidarity by
other faculty members-as a citizen Which Was speech of concern to a public
interest insofar as he had been monstroule deemed a deviant sexual
harasser whose false reputation as such Was being tortiously spread like
Wildfire in the UNC community by Defendants through their agents,
employees, and administrators to the effect of causing objective, measurable
alarm in the community; and (ii) that said speech Was a motivating and/or
but for cause of his demotions and ultimate constructive discharge

205. Accordingly, Defendants are liable to Professor Doe for constructive
discharge and Free Speech violations, and for all damages so arising
therefrom.

FOURTH CLAIM FOR RELIEF

(Breach of Contract)
206. That all preceding paragraphs are specifically incorporated by
reference and are specifically re-alleged as though laid out in full herein.
207. 'l‘hat Professor Doe had a Valid contract for employment With UNC.
208. That The Board of Governors of the University of North Carolina,

UNC, and Carol Folt in her official capacity, through their agents, employees
and/or administrators did substantially breach perhaps the most material
portion of Professor Doe’s contract by failing to perform all obligations under
the contract, specifically the common law obligation imposed on all contracts
to act in good faith and deal fairly, as shown above, principally through: (i)
their mishandling of the sexual harassment charges and proceedings in
Violation of his constitutional rights, as Well as (ii) through their mishandling
of the months following the January 12, 2016 SG‘C l\lotice of Hearing
Outco!ne decision, Wherein they engaged in, allowed7 encouraged, and ratified
the constructive discharge, free speech suppression and retaliation, and
defamation of Professor Doe.

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209. That Professor Doe performed all of his obligations under the contract,
including acting in good faith.

210. Accordingly, Defendants are liable to Professor Doe for breach of
contract and for all damages arising out of that violation.

FIFTH CLAIM FOR RELIEF
(Defarnation & Breach of Confidentia]ity)

211. That all preceding paragraphs are specifically incorporated by
reference and are specifically rca-alleged as though laid out in full herein

212. That ’l‘he Board of Governors of the University of North Carolina,
UNC, and Carol Folt in her official capacity, through their agents, employees
and]or administrators did defame Professor Doe by slander per se through its
spoken publication to individuals other than Professor Doe and Who did not
qualify under UNC’s policies as a “need to know” person that Professor Doe
had been convicted of the “crime” of sexual harassment and/or the lesser
civil/Title lX wrong of sexual harassment, when they knew or should have
known that such statements were false in their entirety or else substantially
false, or else protected by contractual, common law, and statutory obligations
of confidentiality

213. That the Defendants in the preceding paragraph committed this tort
against Professor Doe on multiple occasions and by various actors through
the facts shown above, including specifically, but not limited to the l\lovemberl
13, 2015 “town hall” meetingy

214. Accordingly, Defendants are liable to Professor Doe for defamation by
slander per se and breach of confidentiality and for all damages arising out of
that Violaijon.

SlXTH CLAIM FOR RELIEF
(Ne gli gence)

215. That all preceding paragraphs are specifically incorporated by
reference and are specifically re~alleged as though laid out in full herein

216. That The Board of Governors of the University of North Carolina,
UNC, and Carol Folt in her official cap acity, thi ough their agents employees
and/or administrators did negligently carry out its own policies and
p1ocedures as follows:

i. That the above named Defendants in this claim subsection owed a
common law duty towards Professor Doe to exercise reasonable care,
with due regard for the truth, to: (a) ensure an evenhanded
application of procedure, and (b) soberly consider the important and

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irreversible consequences of its actions, as well as Professor Doe’s
various liberty and property rights and interests generally.

ii. That through the acts set forth above, the above named Defendants in
this claim subsection breached that duty by carelessly, improperly,
and negligently performing its assigned duties and facilitating a
process (and its foreseeable aftermath) that violated the rights and
interests of Professor Doe.

iii. ln particular, Defendants have negligently trained and supervised the
individuals it employs to investigate claims of sexual misconduct
adjudicate those claims, or otherwise implement UNC policies with
due regard for the truth and fairness to all parties, and not to over~
punish or retaliate in excess of the EOC/SGC reprimands

iv. Upon information and belief Defendants train their `employees,
agents, and administrators (i) to implement the goal of combating
“rape culture,” a chief element of which is to suppress any doubt which
may arise regarding the veracity of sexual assault claimant; (ii) to
believe that the number of false accusations in the Title IX context
must mirror that of the criminal context (2-8%) when that is an
improper comparison in light of the far greater deterrents against
false reports which exist in the criminal context; (iii) to otherwise give
presumptive credit to the testimony of sexual assault claimants unless
there is (functionally) clear and convincing evidence, or something
similarly high, of its falsity, in contravention of the requirement that
all facts must be determined by a preponderance of the evidence,
including facts which point towards a claimants falsity, lack of
credibility, or propensity for truth telling (said facts having abounded
in the case at bar yet which were disregarded by the triers of fact or
else weighed with an improper standard of evidence and thus
effectuated an unjust and unconstitutionally disparate impact on
Professor Doe).

217. That as a direct and proximate result of Defendants’ negligence
Professor Doe has been seriously and irreparably damaged in the following
ways, including but not limited to all other claims set forth in this Complaint:
(i) having been made to endure extreme emotional and psychological
suffering as a result of the Defendants’ one~sided treatment of the false
sexual harassment charges brought against him; (ii) having been
constructively discharged; (iii) having been defamed by slander per se,' (iv)
having had information placed in his personnel file which shall foreclose the
ability for him to gain employment at institutions of higher education as a
Professor»~the career to which he has devoted his life’s professional
development including recently starting a family under the rightfully
assumed future ability to provide for-especially in light of the fact that
pursuant to N.C. Gren. Stat. § 126~24 the fox is left guarding the henhouse in
the form of Defendant Kenneth ’l‘. Andrews retaining the broad and

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discretionary power to release such information or not,' and thus (v) Professor
Doe has and Will continue to suffer permanent reduction in lifetime earnings

218. Accordingly, Defendants are liable to Professor Doe for negligence
and for all damages arising out of that violation.

DECLARATORY JUDGMENT ACTION
(Removal of Inaccurate and Misleading Information in Personnel File)

219. That all preceding paragraphs are specifically incorporated by
reference and are specifically re»alleged as though laid out in full herein,

220. That pursuant to N.C. Gen. Stat. § 1-253, et seq. and Rule 57 of the
North Caroh`na Rules of Civil Procedure there exists an actual and justiciable
controversy between Professor Doe and Defendants regarding certain rights
and obligations pursuant to N.C. Gen. Stat. § 126 et seq and Defendant Ann
Lemon’s ability and/or obligation to remove the inaccurate and misleading
information_in light of the above facts and claims~in Professor Doe’s
personnel file pertaining to the Title lX proceedings

221. Specifically, Professor Doe seeks a Declaration from this Court:

i. That Defendant Ann Lemon should be required, pursuant to N.C. Gen.
Stat. § 126~25(b) to' remove the inaccurate and misleading information
in Professor Doe’s personnel file;

ii. That Defendant Kenneth T. Andrevvs should be enjoined from
exercising his otherwise allowable discretion vested in him pursuant
to N.C. Gen. Stat. § 126-24; and

iii. That any and all preconditions to Professor Doe’s right to the
declaratory relief request in this action have been satisfied

MOTION FOR PRELIMINARY INJUNCTION
(Against Defendant Kenneth T. Andrews)

222. That all preceding paragraphs are specifically incorporated by
reference and are specifically re~alleged as though laid out in full herein

223. That through the facts above it has been adequately shown that
Defendant Kenneth T. Andrews harbors and acts upon unfounded
antagonism against Professor Doe.

224. That Whilst the above Declaratory Judgment Action is pending Which,
in part, requests declaratory and injunctive relief from Defendant Kenneth T.
Andrevvs exercise of his discretionary disclosure powers pursuant to N.C.
Gen. Stat. § lZG-le_the likelihood of success on the merits of Which action

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has been adequately plead and shown above”~that it is clear Professor Doe is
likely to sustain irreparable loss from Defendant Kenneth T. AndreWs’
interim exercise of his discretionary disclosure powers

225. That the irreparable loss is particularly palpable insofar as Professor
Doe, having been constructively discharged less than thirty (30) days ago, is
actively pursuing employment opportuniiies and that said prospective
employers may be contacting UNC during the pendency of this acijon and
that Were Professor Doe to be prejudiced by Defendant Kenneth T. Andrevvs
interim exercise of his discretionary disclosure powers that it could create a
gap in l?rofessor Doe’s employment record that Would irreparably harmful to
his future employment prospects, and unjustly so given the falsity of Jane
Roe’s charges ‘

226. That if it is said that Professor Doe has brought this situation on
himself, that it must in that instance be observed that Professor Doe faces a
Hobson’s choice designed to stymie and favor State agencies under the
Administrative Procedures Act Which imposes a harsh thirty (30) day time
limit for bringing Petitions for Judicial RevieW-Which this complaints
claims should be consirued as only if, and only and if, deemed necessary_to
the effect that he can either (i) pursue and contest these claims in an attempt
to clear his good name, or else (ii) do nothing in regards to UNC and attempt
to gain employment Without this action, but that UNC had taken no single
action Which leaves Professor Doe With the impression that they Will look
after his interests in any Way or speak kindly or truthfully about him in any
Way, to the end that Professor Doe has no choice but to simultaneously
challenge UNC to clear his name, While also seeking immediate employment
so as to not develop an irreversible employment gap in his resume.

227. That the only protection available to Professor Doe from the above
described irreparable loss likely to be sustained is for this Court to
preliminarily enjoin Defendant Kenneth T, AndreWs from exercising his
discretionary disclosure powers pending the resolution of the Declaratory
Judgment Action.

MOTION FOR PRELIMINARY INJUNCTION
(Against The Board of Governors of the University of North Carolina, UNC,
and Chancellor Folt)

228. That all preceding paragraphs are specifically incorporated by
reference and are specifically re~alleged as though laid out in full herein.

229. That through the facts above it has been adequately shown that
Defendants The Board of Governors of the University of North Carolina,
UNC, and Carl Folt in hei1 capacity as Chancellor of UNC, by and through
their agents, employees, and administrators actively engaged in, condoned, or
else ratified the tortious defamation through slander per se of Professor Doe.

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230. That Whilst the above Fifth Claim for Relief (Defaination and Breach
of Confidentiality) is pending-the likelihood of success on the merits of
which action has been adequately plead and shown above»-that it is clear
Professor Doe is likely to sustain irreparable loss from Defendants, by and
through their agents, employees, and administrators in the form of further if
not increased defamatory acts in retaliation to the present action in which
Professor Doe is proceeding With lawfully claimed anonymity.

231. That the only protection available to Professor Doe from the above
described irreparable loss likely to be sustained is for this Court to
preliminarily enjoin Defendants, their agents, employees (especially graduate
student employees research assistants and graduate student instructors),
and administrators from further defamatory and breach of confidentiality
acts) including but not limited to: social media posts, spoken communication
at “tovvn halls” or to any third party not qualifying as a “need to lrnovv” person
under UNC policies, and published newspaper articles

FINAL AND ULTIMATE CLAIM FOR RELIEF
(C'orum Claim)

232. That all preceding paragraphs are specifically incorporated by
reference and are specifically re-alleged as though laid out in full herein.

233. That Professor Doe has a constitutionally protected liberty interest in
his personal and professional reputation through his constitutionally
protected property interest in his continued contractual, tenure-track (then
soon up for tenure review) employment

234. That Carol Folt is a party to this action in her official capacity as
Chancellor of UNC and as such this Court has before it the necessary parties
and issues to allow a Corum claim to proceed.

235. That Professor doe brings his Comm claim directly against the State
through its actor (Carol Folt) in her official capacity and pleads with this
Court to use the common laW, Which provides a remedy for every Wrong, to
furnish the appropriate action for the adequate redress of Professor Doe’s
constitutional violations committed by the State through its actor in her
official cap acity: Carol Folt, Chancellor of UNC.

236. That Professor Doe’s inadequate state remedies are not rooted in state
claims Which merely require more of him, but state claims which even if
successful cannot remedy his constitutional Wrong.

237. . That l?rofessor Doe faces inadequate or else inaccessible state common

law or statutory remedies for the reputational and property damage inflicted
upon him by UNC through its actions in “Part I” of the Facts of this

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Complaint, i.e., the events transpiring up and until the January 12, 2016
SGC Notice of Hearing Outcome, as follows:

i. - ln violation of their own policy, no “informal” resolution of this matter
was even remotely attempted by UNC's EOC office.

ii. That, as described above, no meaningful opportunity to be heard was
ever provided by the EOC proceedings or SGC hearings through the
multiple procedural and substantive due process violations inherent in
all of UNC’s EOC proceedings and present in Professor Doe’s case in
particular

iii. Even if a meaningful opportunity to be he ard at the EOC investigation
or SGC hearing stages had been provided, “successful recovery” would
not have been possible since the irreparable damage to Professor Doe
had already been effectuated by the EOC office failing to attempt even
a cursoi'ily “informal” resolution of the matter as (then) required
under UNC policy.

iv. That the normal remedy for tortious defamation against his accuser
was unavailable to Professor Doe due to the then-intact confidentiality
entitlements of Title lX and FERPA

v. That no other claims presented above allow this Court to assign
monetary damages for the root of Professor Doe’s defamation Which
was incepted in 2015 through the unfair, one“sided, and due process
lacking procedures and substance of the EOC proceedings

vi. That, as stated in the Third Claim for Belief above, the actions of
Defendants including Carol Folt in her official capacity implicate free
speech violations which are self~executing under the North Carolina
Constitution and brought as a 42 U.S.C. § 1983 claim regarding the
Frist Amendment to the Constitution of the United States, insofar as
Professor Doe engaged in protected speech of concern to the public and
as a citizen when he made efforts during the EOC/SGC proceedings to
proclaim his innocence, including through others, and that his efforts
were discouraged chilled, and eventually the motivating factor, but
for, and proximate cause of his serial demotions and ultimate
constructive discharge

f 238, Ubi jus ibi remedium (‘Where there is a right, there is a remedy’),
239. Accordingly, Defendants are liable to Professor Doe for violation of his
state constitutional rights and for all damages arising out of that violation

which should be made resolved by an equitable remedy fashioned by this
court’s common law and state constitutional powers as announced under t

Corum.

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240. That a frequent recurrence to fundamental principles is absolutely

necessary to preserve the blessings of liberty.

241. That North Carolina is still a constitutional democracy.

242. That a good name is more desirable than riches, and that to be

esteemed is better than silver and gold.

WHEREFORE, Plaintiff this Honorable Oourt:

1.

That this Oomplaint be taken as an affidavit upon which future Orders of
this Oourt may be based;

For entry of an Order vacating the EOC Report and SGC Notice of Hearing
Outcome, or in the alternative remanding for a new trial, or in the
alternative remanding for findings of fact and conclusions of law consistent
with an opinion of this Oourt;

For entry of an Order reinstating Plaintiff to his former post of employment
with all the rights of committee work and rights to advise and collaborate
with students as was in place prior to May of 2015, or in the alternative
awarding judgment in an amount to be determined at trial but not less than
$25,000 against The Board of Governors of the UniVersity of Nortli Oarolina,
UNC, and Oarol Folt in her official capacity as Ohancellor of UNO for
Plaintiff’s constructive discharge and free speech violations;

For entry of an Order requiring specific performance of Plaintifi’s contract for
employment, or in the alternative awarding judgment in an amount to be
determined at trial but not less than $25,000 in Plaintiff’s favor for The
Board of Governors of the University of North Oarolina, UNO, and Carol Folt
in her official capacity as Chancellor of UNO for breach of their contract with
Plaintiff;

For entry of an Order awarding judgment in an amount to be determined at
trial but not less than $25,000 in Plaintifl:"s favor for the Board of Governors
of the University of North Oarolina, UNC, and Oarol Folt in her official
capacity as Ohancellor of UNC for defamation of Plaintiff by slander per se
through their agents, employees, and administrators,'

For entry of an Order awarding judgment in an amount to. be determined at
trial but not less than $25,000 in Plaintifi’ s favor for the Board of Governors
of the UniVersity' of North Oaroli.na, UNC, and Oarol Folt in her official
capacity as Chancellor of UNO for negligently harming Plaintiff through
their agents, employees, and administrators as described above,'

For entry of an Order Declaring the rights and obligations of the parties to be
that the Title IX proceedings, reprimands, and all other such related

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documentation in Plaintiffs file be removed by Ann Lemon as it is clearly
inaccurate and misleading,'

8. For entry of an Order preliminarily enjoining Defendant Kenneth T. Andrews
from exercising his discretionary disclosure powers under N.C. Gen. Stat. §
» 126-24 pending the resolution of the Declaratory Judgment Action;

9. For entry of an Order preliminarily enjoining~l)efendants The Board of
Governors of the University of North Carolina, UNC, and Carol Folt`in her
official capacity as Chancellor by and through their agents, employees and
administrators to immediately cease and desist all defamation and breaching
of confidentiality of l?laintii`fs connection to these Titlve IX proceedings,
pending the resolution of all claims herein;

10. For entry of an Order fashioning a C'omm remedy in the form of a judgment
in Plaintiffs favor awarding him monetary damages.in an amount to be
determined at trial but not less than $25,000 against Defendant Carol Folt in
her official capacity as Chancellor of UNC to redress the defamation incurred
from May of 2015 through January 12, 2016 in the course of the Title IX
proceedings;

11. That the costs of this action to be taxed against Defendants;

12. For trial by jury; and

13.For such other and further relief as The Court deems just, proper, and

equitable
l

This the 30th day of July,.2018.

LOFTIN & LOFTIN, P.A.
117 N. Churton St
P.O. BOX 7 33
919.'732.9,748 (o)
919.732.4241 (f)

 

/ "`m.
Jason R. J ones t n D. Loftin
NC Bar No. 49302 NC Bar No. 16723

 

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